            Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 1 of 86



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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


TANYA MAYHEW, TANVEER ALIBHAI, and              :
TARA FESTA individually on behalf of themselves :
and all others similarly situated,              :   Case No. 16 CV 6981 (VB)
                                                :
                Plaintiffs,                     :
v.                                              :
                                                :    AMENDED CLASS ACTION
                                                :         COMPLAINT
KAS DIRECT, LLC, and S.C. JOHNSON & SON, :           JURY TRIAL DEMANDED
INC.,                                           :

              Defendants.

                                              1
            Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 2 of 86



       Plaintiffs Tanya Mayhew, Tanveer Alibhai, and Tara Festa (hereinafter “Plaintiffs”),

individually and on behalf of all others similarly situated throughout the country, by their

attorneys, allege the following upon information and belief, except for those allegations pertaining

to Plaintiffs, which are based on personal knowledge:

                                   NATURE OF THE ACTION

       1.        This is a class action against Defendant KAS Direct, LLC d/b/a Babyganics and

S.C. Johnson & Son, Inc. (hereinafter “Defendants”), which develop, manufacture, market, and

sell a variety of baby care, sun protection, and cleaning products for babies and children, which

are sold under the brand name “Babyganics,” including:

             •   Babyganics 3x laundry detergent fragrance free,

             •   Babyganics 3x laundry detergent lavender,

             •   Babyganics alcohol-free foaming hand sanitizer fragrance free refill,

             •   Babyganics alcohol-free foaming hand sanitizer mandarin refill,

             •   Babyganics alcohol-free foaming hand sanitizer fragrance free,

             •   Babyganics alcohol-free foaming hand sanitizer mandarin,

             •   Babyganics alcohol-free hand sanitizing wipes mandarin,

             •   Babyganics all-purpose surface wipes fragrance free,

             •   Babyganics benzocaine free gel teething pods,

             •   Babyganics bubble bath chamomile verbena,

             •   Babyganics bubble bath fragrance free,

             •   Babyganics cold relief chest rub,

             •   Babyganics conditioning shampoo and body wash chamomile verbena,

             •   Babyganics conditioning shampoo and body wash fragrance free,


                                                     2
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 3 of 86



 •   Babyganics diaper rash cream,

 •   Babyganics dryer sheets lavender,

 •   Babyganics eczema care skin protectant cream,

 •   Babyganics face, hand, and baby wipes fragrance free,

 •   Babyganics floor cleaner concentrate fragrance free,

 •   Babyganics fluoride free toothpaste strawberry,

 •   Babyganics fluoride free toothpaste watermelon,

 •   Babyganics flushable wipes fragrance free,

 •   Babyganics foaming dish and bottle soap refill citrus,

 •   Babyganics foaming dish and bottle soap refill fragrance free,

 •   Babyganics foaming dish and bottle soap citrus,

 •   Babyganics foaming dish and bottle soap fragrance free,

 •   Babyganics foaming hand soap chamomile verbena,

 •   Babyganics foaming hand soap fragrance free,

 •   Babyganics hand and face wipes fragrance free,

 •   Babyganics natural insect repellent,

 •   Babyganics mineral-based sunscreen spray 50+ SPF,

 •   Babyganics mineral-based sunscreen 50+ SPF,

 •   Babyganics mineral-based sunscreen 50+ SPF single use tubes,

 •   Babyganics moisturizing daily lotion with sunscreen 15 SPF,

 •   Babyganics moisturizing daily lotion chamomile verbena,

 •   Babyganics moisturizing daily lotion fragrance free,

 •   Babyganics moisturizing therapy cream wash,

                                      3
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 4 of 86



 •   Babyganics multi-surface cleaner citrus,

 •   Babyganics multi-surface cleaner fragrance free,

 •   Babyganics night time baby lotion orange blossom,

 •   Babyganics night time bubble bath orange blossom,

 •   Babyganics night time shampoo and body wash orange blossom,

 •   Babyganics organic lip and face balm fragrance free,

 •   Babyganics pure mineral sunscreen stick 50+ SPF,

 •   Babyganics pure mineral sunscreen 30 SPF,

 •   Babyganics shampoo and body wash chamomile verbena,

 •   Babyganics shampoo and body wash fragrance free,

 •   Babyganics soothing protective ointment,

 •   Babyganics stain and odor remover fragrance free,

 •   Babyganics stain eraser fragrance free,

 •   Babyganics toy and highchair cleaner fragrance free,

 •   Babyganics toy, table, and highchair wipes fragrance free,

 •   Babyganics tub and tile cleaner fragrance free,

 •   Babyganics ultra absorbent diapers newborn,

 •   Babyganics ultra absorbent diapers size 1,

 •   Babyganics ultra absorbent diapers size 2,

 •   Babyganics ultra absorbent diapers size 3,

 •   Babyganics ultra absorbent diapers size 4,

 •   Babyganics ultra absorbent diapers size 5,

 •   Babyganics ultra absorbent diapers size 6, and

                                      4
            Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 5 of 86



             •   Babyganics vapor bubble bath

(hereinafter the “Products”).

       2.        This action seeks to remedy the unlawful, unfair, deceptive, and misleading

business practices of Defendants with respect to the marketing and sales of the Products, which

are sold throughout the States of New York, California, Florida, and throughout the country.

       3.        Defendants chose the name “Babyganics,” a name clearly evocative of the word

“organic,” in order to convey to consumers that the Products are organic. Many of the Products

are also advertised and labeled as having “Neonourish Natural Seed Oil.”

       4.        Defendants’ marketing materials for the Products are also replete with statements

that the Products are organic, and the front and back labels of some of the Products state that the

Products contain organic ingredients.

       5.        In addition to marketing their entire product line under the trade name

“Babyganics,” Defendants sell sunscreens that are labeled “mineral-based” (the “Sunscreens”). In

fact, these Sunscreens are not mineral sunscreens, which use physical sunscreens such as Titanium

Dioxide and Zinc Oxide that sit on top of the skin to deflect and scatter UV rays away from the

skin. Instead, Defendants’ “mineral-based” sunscreens use a combination of physical sunscreens

and chemical sunscreens, which penetrate the skin and absorb UV radiation.




                                                 5
            Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 6 of 86



A reasonable consumer does not deem products containing chemical ingredients such as

Octinoxate and Octisalate to be “mineral-based.” The claim concerning this labeling is referred to

herein as the Sunscreen Claim.

       6.       Plaintiffs and the Class reasonably believed Defendants’ false and misleading

representations. Defendants knew or reasonably should have known that their representations

regarding the Products were false, deceptive, misleading, and unlawful under California, New

York, and Florida law.

       7.       But for Defendants’ false and misleading identification of the Products as organic,

mineral-based, or natural, Plaintiffs and the Class would not have purchased the Products or paid

a premium price for the Products instead of purchasing truly organic, mineral-based, or natural

products available from Defendants’ competitors.

       8.       Plaintiffs and Class Members paid a premium for the Products over comparable

products that did not purport to be organic, mineral-based, or natural. Given that Plaintiffs and

Class Members paid a premium for the Products based on Defendants’ misrepresentations that

they are “organic,” “mineral-based,” or “natural,” Plaintiffs and Class Members suffered an injury

in the amount of the purchase price and/or the premium paid.

       9.       Defendants’ conduct violated and continues to violate New York General Business

Law §§ 349 and 350, California law, including, but not limited to, California Civil Code §§ 1750

et seq., California Business & Professions Code §§ 17200 et seq., and California Business &

Professions Code §§ 17500 et seq., Florida’s Deceptive and Unfair Trade Practices Act, New

York’s express warranty law, the Magnuson-Moss Warranty Act, and the common law.

Defendants have been and continue to be unjustly enriched. Accordingly, Plaintiffs bring this




                                                 6
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 7 of 86



action against Defendants on behalf of themselves and Class Members who purchased the Products

during the applicable statute of limitations period (the “Class Period”).

                                    JURISDICTION AND VENUE

        10.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2). Plaintiff Tanya Mayhew

is a citizen of the State of New York and resides in Dutchess County. Plaintiff Tanveer Alibhai is

a citizen of the State of California and resides in Oakland, California. Plaintiff Festa is a citizen of

the State of Florida and resides in Port St. Lucie, Florida. Defendant KAS Direct is a corporation

with its principal place of business in Westbury, New York and is organized and existing under

the laws of the State of Delaware. Defendant S.C. Johnson is a corporation with its principal place

of business in Racine, Wisconsin and is organized and existing under the laws of the State of

Wisconsin. Upon information and belief, the amount in controversy is in excess of $5,000,000,

exclusive of interests and costs.

        11.     This Court has personal jurisdiction over Defendants because Defendants conduct

and transact business in the State of New York, contract to supply goods within the State of New

York, and supply goods within the State of New York. Furthermore, Defendant KAS Direct’s

principal place of business is in the State of New York.

        12.     Venue is proper because Plaintiff Mayhew and many Class Members reside in the

Southern District of New York, and throughout the State of New York.

                                              PARTIES

Plaintiff Mayhew

        13.     Plaintiff Mayhew is an individual consumer who, at all times material hereto, was

a citizen of the State of New York and a resident of Dutchess County. During the Class Period

Plaintiff Mayhew purchased the Defendants’ mineral-based sunscreen, mineral-based sunscreen



                                                   7
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 8 of 86



stick, and shampoo & body wash in approximately 2015 from her local Target in the State of New

York.

        14.    Plaintiff Mayhew purchased the Products because she saw the labeling, advertising,

the Defendants’ website, and read the packaging, which represented that the Products are

“Organic” and “Mineral-Based.” Plaintiff Mayhew relied on Defendants’ false, misleading, and

deceptive representations that the Products are “Organic” and “Mineral-Based.” Had Plaintiff

Mayhew known the truth—that the representations she relied upon in making her purchase were

false, misleading, and deceptive—she would not have purchased the Products at a premium price.

Plaintiff Alibhai

        15.    Plaintiff Alibhai is a citizen of the State of California and a resident of Oakland,

California. She purchased Defendants’ mineral-based sunscreen in approximately 2012 from

ToysRUs. She also purchased bulk packages of Defendants’ bubble bath, foaming bottle & dish

soap, and toy & highchair cleaner in approximately 2013 from ToysRUs.

        16.    Plaintiff Alibhai purchased the mineral-based sunscreen because she believed that

it was organic and mineral-based as represented by Defendant. Plaintiff did not discover that the

sunscreen was neither organic nor mineral-based until after she applied it to her daughter’s skin,

at which point her daughter suffered a rash and Plaintiff Alibhai checked the ingredients listed on

the back label. Had Plaintiff Alibhai known the truth—that the representations she relied upon in

purchasing the mineral-based sunscreen were false, misleading, and deceptive—she would not

have purchased it.

        17.    Plaintiff Alibhai purchased the bubble bath, foaming bottle & dish soap, and toy &

highchair cleaner because she believed they were natural and organic. However, the bubble bath

aggravated her daughter’s eczema, and upon closer review of the ingredients lists, Plaintiff Alibhai

discovered that none of the Babyganics products were organic. Plaintiff Alibhai stopped using the
                                                 8
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 9 of 86



products. Had she known the truth—that the representations she relied upon in purchasing the

Babyganics products were false, misleading, and deceptive—she would not have purchased them.

Plaintiff Festa

       18.    Plaintiff Festa is a citizen of the State of Florida and a resident of Port St. Lucie,

Florida. During the Class Period Plaintiff Festa purchased Defendants’ shampoo, body wash, and

lotion in approximately 2016 from her local BabiesRUs in the State of Florida.

       19.    Plaintiff Festa purchased the Products because she saw the labeling, advertising,

the Defendants’ website, and read the packaging, which represented that the Products are

“Organic” and “Mineral-Based.” Plaintiff Festa relied on Defendants’ false, misleading, and

deceptive representations that the Products are “Organic” and “Mineral-Based.” Had Plaintiff

Festa known the truth—that the representations she relied upon in making her purchase were false,

misleading, and deceptive—she would not have purchased the Products at a premium price.

Defendant KAS Direct, LLC

       20.    Defendant KAS Direct, LLC is a corporation organized and existing under the laws

of the State of Delaware with its principal place of business in Westbury, New York. Defendant

KAS Direct manufactures, markets, advertises, and distributes the Products throughout the United

States. Defendant KAS Direct created and/or authorized the false, misleading, and deceptive

advertisements, packaging, and labeling for the Products.

Defendant S.C. Johnson & Son, Inc.

       21.    Defendant S.C. Johnson & Son, Inc. is a corporation organized and existing under

the laws of the State of Wisconsin with its principal place of business in Racine, Wisconsin. On

July 1, 2016, S.C. Johnson announced that it was acquiring Defendant KAS Direct. Defendant S.C.

Johnson manufactures, markets, advertises, and distributes the Products throughout the United



                                                9
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 10 of 86



States. Defendant S.C. Johnson created and/or authorized the false, misleading, and deceptive

advertisements, packaging, and labeling for the Products

                                 FACTUAL BACKGROUND

A.     Defendants deceptively use the trade name “Babyganics” to impart to consumers that
       their Products are organic.

       22.     Defendant KAS Direct applied to the United States Patent and Trademark Office

(“USPTO”) in March 2006 for the mark “BABYGANICS” for “all-purpose cleaners comprised of

all natural ingredients that can be used in households with babies and pets.” Included with its

application was a specimen, which Defendant KAS Direct described as “[a] photograph of a spray

bottle of Babyganics all natural and organic cleaner”:




       23.     The mark was registered on January 9, 2007, and in August 2012, the USPTO

granted Defendants’ application to expand the “Babyganics” mark to include a much wider range


                                               10
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 11 of 86



of products such a “baby wipes; diaper creams; shampoo and body wash preparations; bubble bath

preparations; lip and face balms; skin moisturizing lotions; saline nasal sprays; toothpaste; teething

gels; insect sprays; [and] non-medicated skin care preparations, namely, skin ointments to promote

healing.” Today, the mark appears on Defendants’ products, on their website, and in marketing

materials in the following form:




       24.     The Products consist of a line of baby care and household cleaning products. The

name “Babyganics” is a portmanteau of the words “baby” and “organics.” Defendants knowingly

and intentionally uses the “Babyganics” mark to convey to consumers that the Products are, in

fact, organic. Although the Products contain small quantities of organic ingredients, Defendants

knowingly and intentionally selected a brand name that looks like and sounds like the word

“organics” in order to exploit the growing consumer demand for organic products. To ensure that

consumers make the association between “Babyganics” and “organics,” Defendants use packaging

which is predominantly white and green and highlights graphics of leaves, flowers, and other

plants. Each product is emblazoned with the name “Babyganics” on the front of the label of the

Products in bold type.

       25.     Consumers have become increasingly concerned about the effects of synthetic and

chemical ingredients in food, cleaning products, bath and beauty products, and everyday household

products. Companies such as the Defendants have capitalized on consumers’ concerns and their

                                                 11
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 12 of 86



desire for purportedly “organic products.” Indeed, consumers are willing to pay, and have paid, a

premium for products branded “organic” over products that contain synthetic ingredients.

Reasonable consumers, including Plaintiffs and Class Members, value organic products for

important reasons, including the belief that they are safer and healthier than alternative products

that are not represented as organic.

        26.      Defendants’ ongoing practice of advertising, marketing, labeling, selling, and

representing the Products as organic—when in fact, the Products contain minimal organic

ingredients—is likely to deceive ordinary consumers of the Products and has in fact deceived

Plaintiffs.

        27.      Plaintiffs reasonably understood the labeling of the Products to mean what they say

or imply to a reasonable consumer—that the Products are organic. Based on the label claims that

the Products are organic, Plaintiffs believed that the Products are entirely or predominantly made

with organic ingredients. In reliance on Defendants’ claims that the Products are organic, Plaintiffs

were willing to pay more for the Products than similar products that do not claim to be organic and

in fact did pay a premium for the Products.

        28.      As depicted below, the Products’ packaging leads consumers to believe the

Products are organic. Despite these representations, the Products contain ingredients that are not

organic. For example, Defendants’ mineral-based sunscreens contain several non-organic and

synthetic inactive ingredients that do not appear on the list of synthetic ingredients approved for

use in products labeled “organic”:

              a. Arachidyl Glucoside – a synthetic surfactant;

              b. Butylene Glycol - a synthetic humectant (a substance that retains moisture);

              c. Ethylhexylglycerin - a synthetic skin conditioning agent and weak
                 preservative;

              d. Glycerin – produce by hydrolysis of fats and oils;
                                                  12
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 13 of 86



           e. Hydroxyethyl Acrylate/Sodium Acryloyldimethyltaurate Copolymer –
              synthetic emulsion stabilizer;

           f. Polyhydroxystearic Acid – a synthetic suspending agent; and

           g. Polysorbate 60 – a synthetic surfactant and emulsifier with contamination
              hazards from carcinogens ethylene oxide and 1,4-dioxane.

     29.      The aforementioned ingredients are not organic.

     30.      The other Products also contain ingredients that are not organic:


  Name of                  Listed Ingredients                            Product Packaging
  Product
Babyganics     •   water
3X laundry     •   lauryl /myristyl glucoside
detergent
               •    potassium cocoate
fragrance
free           •   sodium citrate dihydrate
               •   propylene glycol
               •   lauramine oxide
               •   oleic acid
               •   protease and amylase
               •   citric acid
               •   sodium gluconate
               •   sodium tetraborate
               •   calcium chloride
               •   sodium hydroxide
               •   methylisothiazolinone
Babyganics     •   water
3X laundry     •   lauryl/myristyl glucoside
detergent
               •   potassium cocoate
lavender
               •   sodium citrate dihydrate
               •   propylene glycol
               •   lauramine oxide
               •   oleic acid
               •   protease and amylase
               •   citric acid
               •   sodium gluconate
               •   sodium tetraborate
               •   calcium chloride
               •   sodium hydroxide

                                                13
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 14 of 86



               •   triethyl citrate
               •   anthemis nobilis (chamomile) flower oil
               •   lavandula angustifolia (lavender) oil
               •   citrus aurantium bergamia (bergamot)
                   fruit extract
               •   caprylyl/capryl glucoside
               •   methylisothiazolinone
Babyganics     •   benzalkonium chloride
alcohol-free   •   water
foaming
               •   cetrimonium chloride
hand
sanitizer      •   laurtrimonium chloride
refill         •   dihydroxyethyl cocamine oxide
fragrance      •   glycereth-17 cocoate
free           •   citric acid




Babyganics     •   benzalkonium chloride
alcohol-free   •   water
foaming
               •   cetrimonium chloride
hand
sanitizer      •   laurtrimonium chloride
refill         •   dihydroxyethyl cocamine oxide
mandarin       •   glycereth-17 cocoate
               •   citric acid
               •   medium chain triglycerides
               •   triethyl citrate
               •   citrue reticulate (mandarin orange) peel
                   oil
               •   tocopherol
               •   citrus aurantium dulcis (orange) peel oil
               •   citrus grandis (grapefruit) peel oil




                                              14
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 15 of 86



Babyganics     •   benzalkonium chloride
alcohol-free   •   water
foaming
               •   cetrimonium chloride
hand
sanitizer      •   laurtrimonium chloride
fragrance      •   dihydroxyethyl cocamine oxide
free           •   glycereth-17 cocoate
               •   citric acid




Babyganics     •   benzalkonium chloride
alcohol-free   •   water
foaming
               •   cetrimonium chloride
hand
sanitizer      •   laurtrimonium chloride
mandarin       •   dihydroxyethyl cocamine oxide
               •   glycereth-17 cocoate
               •   citric acid
               •   medium chain triglycerides
               •   triethyl citrate
               •   citrue reticulate (mandarin orange) peel
                   oil
               •   tocopherol
               •   citrus aurantium dulcis (orange) peel oil
               •   citrus grandis (grapefruit) peel oil




                                              15
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 16 of 86



Babyganics     •   benzalkonium chloride
alcohol-free   •   water
hand
               •   glycerin
sanitizing
wipes          •   aloe barbadensis leaf juice
mandarin       •   polysorbate 20
               •   sodium benzoate
               •   cocamidopropyl pg-dimonium chloride
                   phosphate
               •   potassium sorbate
               •   disodium cocoamphodiacetate
               •   citric acid
               •   tetrasodium glutamate diacetate
               •   tocopheryl acetate
               •   medium chain triglycerides
               •   triethyl citrate
               •   citrus reticulate (mandarin orange) peel
                   oil
               •   tocopherol
               •   citrus aurantium dulcis (orange) peel oil
               •   citrus grandis (grapefruit) peel oil
Babyganics     •   purified water
all purpose    •   glycerin
surface
               •   decyl glucoside
wipes
fragrance      •   malic acid
free           •   potassium sorbate
               •   gluconolactone
               •   sodium benzoate




                                              16
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 17 of 86



Babyganics    •   cocos nucifera
benzocaine    •   clove oil
free gel
              •   stevia
teething
pods




Babyganics    •   water
bubble bath   •   sodium lauroyl methyl isethionate
chamomile
              •   disodium cocoamphodiacetate
verbena
              •   coco-glucoside
              •   lauryl glucoside
              •   capryl/capramidropropyl betaine
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic aloe barbadensis leaf juice
              •   organic calendula officinalis flower
                  extract
              •   organic olea europaea (olive) leaf extract
              •   organic glycerin
              •   citric acid
              •   trisodium ethylenediamine disuccinate
              •   phenoxyethanol
              •   ethylhexylglycerin
              •   sodium benzoate
              •   aldehyde c-14 natural
              •   allyl caproate natural
              •   balsam copaiba

                                              17
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 18 of 86



              •   cedarwood virginiana oil
              •   chamomile roman
              •   cis 3 hexenyl acetate natural
              •   coumarin natural cucumber oil natural
              •   davana oil
              •   eucalyptus oil
              •   galbanum oil
              •   geranium eqyptian
              •   hexyl acetate (c-6) natural
              •   ionone beta natural
              •   lemon oil washed
              •   lime oil
              •   methyl cinnamate
              •   caprylic/capric triglyceride
              •   palmarosa oil
              •   rose otto bulgarian
              •   vanillin
Babyganics    •   water
bubble bath   •   sodium lauroyl methyl isethionate
fragrance
              •   disodium cocoamphodiacetate
free
              •   coco-glucoside
              •   lauryl glucoside
              •   capryl/capramidropropyl betaine
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic aloe barbadensis leaf juice
              •   organic calendula officinalis flower
                  extract
              •   organic olea europaea (olive) leaf extract
              •   organic glycerin
              •   citric acid
              •   trisodium ethylenediamine disuccinate
              •   phenoxyethanol

                                              18
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 19 of 86



              •   ethylhexylglycerin
              •   sodium benzoate
Babyganics    •   menthol 2.6%
cold relief   •   organic beeswax
chest rub
              •   cedrus atlantica bark oil
              •   eucalyptus globulas leaf oil
              •   glycine soja (soybean) oil
              •   organic helianthus annuus (snowflower)
                  seed oil
              •   organic lavandula angustifolia (lavender)
                  oil
              •   organic olea eurpoaea (olive) fruit oil
              •   organic ricinus communis (castor) seed
                  oil
              •   Rosmarinus officinalis (rosemary) leaf
                  extract
             •    silica
             •    tocopherol
Babyganics •      water
conditioning •    sodium lauroyl methyl isethionate
shampoo
             •    disodium cocoamphodiacetate
and
bodywash     •    propanediol
chamomile    •    sodium methyl cocoyl taurate
verbena      •    sodium lauryl glucose carboxylate
             •    guar hydroxypropyltrimonium chloride
             •    glycerin
             •    lauryl glucoside
             •    solanum lycopersicum (tomato) seed oil
             •    organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic aloe barbadensis leaf juice
              •   organic chamomilla recutita (matricaria)
                  flower extract
              •   organic cucumis sativus (cucumber) fruit
                  extract

                                             19
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 20 of 86



     •   organic persea gratissima (avocado) fruit
         extract
     •   tocopherol
     •   phenoxyethanol
     •   sodium chloride
     •   citric acid
     •   trisodium ethylenediamine disuccinate
     •   sodium benzoate
     •   dehydroacetic acid
     •   ethylhexylglycerin
     •   sorbic acid
     •   aldehyde c-14 natural
     •   allyl caproate natural
     •   balsam copalba
     •   cederwood viginiana oil
     •   chamomile roman
     •   cis 3 hexenyl acetate natural
     •   coumarin natural cucumber oil natural
     •   davana oil
     •   eucalyptus oil
     •   galbanium oil
     •   geranium eqyptian
     •   hexyl acetate (c-6) natural
     •   ionone beta natural
     •   lemon oil washed
     •   lime oil
     •   methyl cinnamate
     •   caprylic/capric triglyceride
     •   palmarosa oil
     •   rose otto Bulgarian
     •   vanillin




                                    20
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 21 of 86



Babyganics     •   water
conditioning   •   sodium lauroyl methyl isethionate
shampoo
               •   disodium cocoamphodiacetate
and
bodywash       •   propanediol
fragrance      •   sodium methyl cocoyl taurate
free           •   sodium lauryl glucose carboxylate
               •   guar hydroxypropyltrimonium chloride
               •   glycerin
               •   lauryl glucoside
               •   solanum lycopersicum (tomato) seed oil
               •   organic helianthus annuus (sunflower)
                   seed oil
               •   vaccinium macrocarpon (cranberry) seed
                   oil
               •   organic nigella sativa (black cumin) seed
                   oil
               •   rubus idaeus (red raspberry) seed oil
               •   organic aloe barbadensis leaf juice
               •   organic chamomilla recutita (matricaria)
                   flower extract
               •   organic cucumis sativus (cucumber) fruit
                   extract
               •   organic persea gratissima (avocado) fruit
                   extract
               •   tocopherol
               •   phenoxyethanol
               •   sodium chloride
               •   citric acid
               •   trisodium ethylenediamine disuccinate
               •   sodium benzoate
               •   dehydroacetic acid
               •   ethylhexylglycerin
               •   sorbic acid




                                              21
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 22 of 86



Babyganics    •   zinc oxide
diaper rash   •   water
cream
              •   organic butyrospermum parkii (shea)
                  butter
              •   butyrospermum parkii (shea) butter
              •   organic theobroma cacao (cocoa) seed
                  butter
              •   theobroma cacao (cocoa) seed butter
              •   organic prunus amygdalus dulcis (sweet
                  almond) oil
              •   glycol stearate
              •   organic simmondsia chinensis (jojoba)
                  seed oil
              •   organic glycerin
              •   polyglyceryl – 3 polyricinoleate
              •   tocopherol
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic calendula officinalis flower
                  extract
              •   organic aloe barbadensis leaf juice
              •   sorbitan sesquioleate
              •   cetyl ricinoleate
              •   glyceryl caprate
              •   beeswax
              •   sodium polyacryloyldimethyl taurate
              •   hydroxyethylcellulose
              •   hydrogentated polydecene
              •   trideceth-10
              •   magnesium stearate
              •   aluminum tristearate
              •   sodium benzoate
              •   gluconolactone


                                             22
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 23 of 86



Babyganics     •   paper
dryer sheets   •   dihydrogenated               palmoylethyl
lavender           hydroxyethylmonium           methosulfate
                   (plant-based softening agent/antistatic)
               •   Natural     Fragrance:     caprylic/capric
                   triglyceride (plant-based emulsifier)
               •   citrus aurantium bergamia (bergamot)
                   fruit oil
               •   anthemis nobilis (chamomile) flower oil
               •   lavendula angustifolia (lavender) oil
               •   lavandula hybrida (lavandin) oil
Babyganics     •   colloidal oatmeal 1%
eczema care    •   water
skin
               •   organic butyrospermum parkii (shea)
protectant
                   butter
cream
               •   cetearyl alcohol
               •   cetyl alcohol
               •   isopropyl palmitate
               •   organic glycerin
               •   glyceryl stearate
               •   organic theobroma cacao (cocoa) seed
                   butter
               •   hydrolyzed oats
               •   solanum lycopersicum (tomato) seed oil
               •   organic helianthus annuus (sunflower)
                   seed oil
               •   vaccinium macrocarpon (cranberry) seed
                   oil
               •   organic nigella sativa (black cumin) seed
                   oil
               •   rubus idaeus (red raspberry) seed oil
               •   cetearyl glucoside
               •   tocopherol
               •   glyceryl dilaurate
               •   caprylyl glycol
               •   xanthan gum
               •   sodium phytate
               •   ethylhexylglycerin
               •   citric acid
               •   potassium sorbate

                                               23
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 24 of 86



              •   phenoxyethanol
Babyganics    •   water
face, hand    •   chamomilla recutita flower extract
and baby
              •   vegetable oil
wipes
fragrance     •   glycerin
free          •   lauryl glucoside
              •   polyglyceryl-2-dipolyhydroxystearate
              •   glyceryl oleate
              •   dicaprylyl carbonate
              •   sodium benzoate
              •   citric acid
              •   potassium sorbate
              •   solanum lycopersicum (tomato) seed oil
              •   helianthus annuus (sunflower) seed oil
              •   vacinnium macrocarpon (cranberry) seed
                  oil
              •   nigella sativa (black cumin) seed oil
              •   rubus idaeus (red raspberry) seed oil
Babyganics    •   water
floor         •   decyl glucoside
cleaner
              •   sodium lauryl glucose carboxylate
concentrate
fragrance     •   lauryl glucoside
free          •   lauramine oxide
              •   methylglycinediacetic acid
              •   potassium cocoate
              •   sodium citrate
              •   phenoxyethanol
              •   caprylyl glycol




                                           24
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 25 of 86



Babyganics •      purified water
fluoride free •   carboxymethyl cellulose
toothpaste
              •   xylitol
strawberry
              •   sodium citrate
              •   citric acid
              •   potassium sorbate
              •   stevia
              •   flavor
             •




Babyganics •      purified water
fluoride free •   carboxymethyl cellulose
toothpaste
              •   xylitol
watermelon
              •   sodium citrate
              •   citric acid
              •   potassium sorbate
              •   stevia
              •   flavor




                                            25
        Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 26 of 86



Babyganics      •   water
flushable       •   aloe barbadensis leaf juice
wipes
                •   glycerin
fragrance
free            •   polysorbate 20
                •   sodium benzoate
                •   disodium cocoamphodiacetate
                •   potassium sorbate
                •   tocopheryl acetate (vitamin e acetate)
                •   sodium citrate
                •   citric acid




Babyganics      •   water
foaming         •   cocamidopropyl hydroxysultaine
dish and
                •   lauramine oxide
bottle soap
refill citrus   •   decyl glucoside
                •   sodium lauroyl sarcosinate
                •   glycerin
                •   methylisothiazolinone
                •   natural fragrance: medium chain
                    triglycerides
                •   triethyl citrate
                •   citrus reticulata (mandarin orange) peel
                    oil
                •   tocopherol
                •   citrus aurantium dulcis (orange) peel oil
                •   citrus grandis (grapefruit) peel oil




                                                26
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 27 of 86



Babyganics    •   water
foaming       •   cocamidopropyl hydroxysultaine
dish and
              •   lauramine oxide
bottle soap
refill        •   decyl glucoside
fragrance     •   sodium lauroyl sarcosinate
free          •   glycerin
              •   methylisothiazolinone




Babyganics    •   water
foaming       •   cocamidopropyl hydroxysultaine
dish and
              •   lauramine oxide
bottle soap
citrus        •   decyl glucoside
              •   sodium lauroyl sarcosinate
              •   glycerin
              •   methylisothiazolinone
              •   natural fragrance: medium chain
                  triglycerides
              •   triethyl citrate
              •   citrus reticulata (mandarin orange) peel
                  oil
              •   tocopherol
              •   citrus aurantium dulcis (orange) peel oil
              •   citrus grandis (grapefruit) peel oil




                                             27
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 28 of 86



Babyganics    •   Water
foaming       •   cocamidopropyl hydroxysultaine
dish and
              •   lauramine oxide
bottle soap
fragrance     •   decyl glucoside
free          •   sodium lauroyl sarcosinate
              •   glycerin
              •   methylisothiazolinone




Babyganics    •   water
foaming       •   organic potassium oleate
hand soap
              •   organic glycerin
chamomile
verbena       •   organic potassium cocoate
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   xanthan gum
              •   potassium citrate
              •   citric acid
              •   aldehyde c-14 natural
              •   allyl caproate natural
              •   balsam copalba
              •   cederwood viginiana oil
              •   chamomile roman
              •   cis 3 hexenyl acetate natural
              •   coumarin natural cucumber oil natural
              •   davana oil
              •   eucalyptus oil
              •   galbanium oil


                                             28
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 29 of 86



             •   geranium eqyptian
             •   hexyl acetate (c-6) natural
             •   ionone beta natural
             •   lemon oil washed
             •   lime oil
             •   methyl cinnamate
             •   caprylic/capric triglyceride
             •   palmarosa oil
             •   rose otto Bulgarian
             •   vanillin
Babyganics   •   water
foaming      •   organic potassium oleate
hand soap
             •   organic glycerin
fragrance
free         •   organic potassium cocoate
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   xanthan gum
             •   potassium citrate
             •   citric acid




                                            29
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 30 of 86



Babyganics   •   water
hand and     •   chamomilla recutita flower extract
face wipes
             •   vegetable oil
fragrance
free         •   glycerin
             •   lauryl glucoside
             •   polyglyceryl-2-dipolyhydroxystearate
             •   glyceryl oleate
             •   dicaprylyl carbonate
             •   sodium benzoate
             •   citric acid
             •   potassium sorbate
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
Babyganics   •   organic soybean oil
natural      •   rosemary oil
insect
             •   citronella oil
repellent
             •   geranium oil
             •   cedarwood oil
             •   peppermint oil
             •   lemongrass oil




                                            30
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 31 of 86



Babyganics   •   zinc oxide 11.2%
mineral-     •   octinoxate 7.5%
based
             •   octisalate 5.0%
sunscreen
spray        •   water
50+SPF       •   caprylic/capric triglyceride
             •   glycerin
             •   aloe barbadensis leaf juice
             •   VP/hexadecene copolymer
             •   glyceryl stearate
             •   hexaglyceryl polyricinoleate
             •   polysorbate 80
             •   phenethyl alcohol
             •   glyceryl caprylate
             •   sodium magnesium silicate
             •   xanthan gum
             •   hydroxyethyl              acrylate/sodium
                 acryloyldimethyltaurate copolymer
             •   citric acid
             •   squalane
             •   solanum lycopersicum (tomato) seed oil
             •   helianthus annuus (sunflower) seed oil
             •   lecithin
             •   polysorbate 60
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   nigella sativa (black cumin) seed oil
             •   sorbitan isostearate




                                            31
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 32 of 86



Babyganics   •   octisalate 5.0%
mineral-     •   titanium dioxide 3.0%
based
             •   zinc oxide 5.0%
sunscreen
50+SPF       •   water
             •   butyloctyl salicylate
             •   neopentyl glycol diethylhexanoate
             •   caprylic/capric triglyceride
             •   stearyl/octyldodecyl citrate crosspolymer
             •   polyglyceryl-2 stearate
             •   organic simmondsia chinensis (jojoba)
                 seed oil
             •   hydrogenated                        dimer
                 dilinoleyl/dimethylcarbonate copolymer
             •   glyceryl stearate
             •   certyl alcohol
             •   organic cocos nucifera (coconut) oil
             •   organic glycerin
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   organic butyrospermum parkii (shea)
                 butter
             •   jojoba esters
             •   stearyl alcohol
             •   arachidyl glucoside
             •   behenyl alcohol
             •   polyhydroxystearic acid
             •   xanthan gum
             •   silica
             •   alumina
             •   ethylhexylglycerin
             •   trisodium ethylenediamine disuccinate
             •   phenoxyethanol



                                            32
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 33 of 86



Babyganics   •   octisalate 5.0%
mineral-     •   titanium dioxide 3.0%
based
             •   zinc oxide 6.0%
sunscreen
50+ SPF      •   water
single use   •   butyloctyl salicylate
tubes        •   neopentyl glycol diethylhexanoate
             •   caprylic/capric triglyceride
             •   stearyl/octyldodecyl citrate crosspolymer
             •   polyglyceryl-2 stearate
             •   simmondsia chinensis (jojoba) seed oi
             •   hydrogenated                        dimer
                 dilinoleyl/dimethylcarbonate copolymer
             •   glyceryl stearate
             •   cetyl alcohol
             •   cocos nucifera (coconut) oil
             •   glycerin
             •   solanum lycopersicum (tomato) seed oil
             •   helianthus annuus (sunflower) seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   nigella sativa (black cumin) seed oil
             •   rubus idaeus (red raspberry) seed oil
             •   butyrospermum parkii (shea) butter
             •   jojoba esters
             •   stearyl alcohol
             •   arachidyl alcohol
             •   arachidyl glucoside
             •   behenyl alcohol
             •   polyhydroxystearic acid
             •   xanthan gum
             •   silica
             •   alumina
             •   ethylhexylglycerin
             •   trisodium ethylenediamine disuccinate
             •   phenoxyethanol




                                            33
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 34 of 86



Babyganics     •   titanium dioxide 2.0%
moisturizing   •   zinc oxide 3.0%
daily lotion
               •   water
with
sunscreen      •   organic cocos nucifera (coconut) oil
15 SPF         •   butyloctyl salicylate
               •   stearyl/octyldodecyl citrate crosspolymer
               •   organic glycerin
               •   polyglyceryl-2 stearate
               •   caprylic/capric triglyceride
               •   glyceryl stearate
               •   cetyl alcohol
               •   stearyl alcohol
               •   solanum lycopersicum (tomato) seed oil
               •   helianthus annuus (sunflower) seed oil
               •   vaccinium macrocarpon (cranberry) seed
                   oil
               •   nigella sativa (black cumin) seed oil
               •   rubus idaeus (red raspberry) seed oil
               •   organic simmondsia chinensis (jojoba)
                   seed oil
               •   organic butyrospermum parkii (shea)
                   butter
               •   organic theobroma cacao (cocoa) seed
                   butter
               •   jojoba esters
               •   xanthan gum
               •   silica
               •   alumina
               •   ethylhexylglycerin
               •   trisodium ethylenediamine disuccinate
               •   phenoxyethanol




                                              34
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 35 of 86



Babyganics •     water
moisturizing •   organic Theobroma cacao (cocoa) seed
daily lotion     butter
chamomile
             •   cetyl alcohol
verbena
             •   squalene
             •   decyl oleate
             •   organic butyrospermum parkii (shea)
                 butter
            •    propanediol
            •    organic glycerin
            •    organic persea gratissima (avocado) oil
            •    organic olea europaea (olive) fruit oil
            •    organic canola oil
            •    tocopherol
            •    organic aloe barbadensis leaf juice
            •    solanum lycopersicum (tomato) seed oil
            •    organic helianthus annuus (sunflower)
                 seed oil
            •    vaccinium macrocarpon (cranberry) seed
                 oil
            •    organic nigella sativa (black cumin) seed
                 oil
            •    rubus idaeus (red raspberry) seed oil
            •    cetearyl alcohol
            •    ceteareth-20
            •    stearic acid
            •    organic beeswax
            •    carbomer
            •    sodium hydroxide
            •    caprylyl glycol
            •    trisodium ethylenediamine disuccunate
            •    sorbic acid
            •    phenoxyethanol
            •    aldehyde c-14 natural
            •    allyl caproate natural
            •    balsam copalba
            •    cederwood viginiana oil
            •    chamomile roman
            •    cis 3 hexenyl acetate natural


                                            35
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 36 of 86



             •   coumarin natural cucumber oil natural
             •   davana oil
             •   eucalyptus oil
             •   galbanium oil
             •   geranium eqyptian
             •   hexyl acetate (c-6) natural
             •   ionone beta natural
             •   lemon oil washed
             •   lime oil
             •   methyl cinnamate
             •   caprylic/capric triglyceride
             •   palmarosa oil
             •   rose otto Bulgarian
             •   vanillin
Babyganics •     water
moisturizing •   organic Theobroma cacao (cocoa) seed
daily lotion     butter
fragrance
             •   cetyl alcohol
free
             •   squalene
             •   decyl oleate
             •   organic butyrospermum parkii (shea)
                 butter
            •    propanediol
            •    organic glycerin
            •    organic persea gratissima (avocado) oil
            •    organic olea europaea (olive) fruit oil
            •    organic canola oil
            •    tocopherol
            •    organic aloe barbadensis leaf juice
            •    solanum lycopersicum (tomato) seed oil
            •    organic helianthus annuus (sunflower)
                 seed oil
            •    vaccinium macrocarpon (cranberry) seed
                 oil
            •    organic nigella sativa (black cumin) seed
                 oil
            •    rubus idaeus (red raspberry) seed oil
            •    cetearyl alcohol
            •    ceteareth-20

                                            36
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 37 of 86



             •   stearic acid
             •   organic beeswax
             •   carbomer
             •   sodium hydroxide
             •   caprylyl glycol
             •   trisodium ethylenediamine disuccunate
             •   sorbic acid
             •   phenoxyethanol
Babyganics •     water
moisturizing •   colloidal oatmeal
therapy
             •   cocamidopropyl hydroxysultaine
cream wash
             •   sodium cocoyl isethionate
             •   organic glycerin
             •   sodium lauroyl methyl isethionate
             •   glycol distearate
             •   cocamidopropylamine oxide
             •   hydrolyzed oats
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
            •    vaccinium macrocarpon (cranberry) seed
                 oil
            •    organic nigella sativa (black cumin) seed
                 oil
            •    rubus idaeus (red raspberry) seed oil
            •    organic butyrospermum parkii (shea)
                 butter
            •    organic aloe barbadensis leaf juice
            •    organic       chamonmilla         recutita
                 (matricaria) extract
            •    tocopherol
            •    castoryl maleate
            •    xanthan gum
            •    hydroxypropyl methylcellulose
            •    caprylyl glycol
            •    ethylhexylglycerin
            •    citric acid
            •    sodium hydroxide
            •    trisodium hydroxide

                                             37
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 38 of 86



             •   trisodium ethylenediamine disuccinate
             •   potassium sorbate
             •   phenoxyethanol
Babyganics   •   water
multi-       •   decyl glucoside
surface
             •   soybean oil
cleaner
citrus       •   methyl esters
             •   trisodium ethylenediamine disuccinate
             •   natural fragrance: medium chain
                 triglycerides
             •   triethyl citrate
             •   citrus reticulata (mandarin orange) peel
                 oil
             •   tocopherol
             •   citrus aurantium dulcis (orange) peel oil
             •   citrus grandis (grapefruit) peel oil
             •   methylisothiazolinone


Babyganics   •   water
multi-       •   decyl glucoside
surface
             •   soybean oil
cleaner
fragrance    •   methyl esters
free         •   trisodium ethylenediamine disuccinate
             •   methylisothiazolinone




                                            38
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 39 of 86



Babyganics    •   water
night time    •   organic Theobroma cacao (cocoa) seed
baby lotion       butter
orange
              •   cetyl alcohol
blossom
              •   squalene
              •   decyl oleate
              •   organic butyrospermum parkii (shea)
                  butter
              •   propanediol
              •   organic glycerin
              •   organic persea gratissima (avocado) oil
              •   organic olea europaea (olive) fruit oil
              •   organic canola oil
              •   tocopherol
              •   organic aloe barbadensis leaf juice
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   cetearyl alcohol
              •   ceteareth-20
              •   stearic acid
              •   organic beeswax
              •   carbomer
              •   sodium hydroxide
              •   caprylyl glycol
              •   trisodium ethylenediamine disuccunate
              •   sorbic acid
              •   phenoxyethanol
              •   bergamot terpenes
              •   davana oil
              •   grapefruit terpenes
              •   mandarin petitgrain
              •   caprylic/capric tryglyceride
              •   orange oil florida


                                             39
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 40 of 86



              •   orange terpenes
              •   peru balsam oil
              •   petitgrain oil
              •   tangerine oil
              •   vanillin natural
Babyganics    •   water
night time    •   sodium lauryl methyl isethionate
bubble bath
              •   disodium cocoamphodiacetate
orange
blossom       •   coco-glucoside
              •   lauryl glucoside
              •   capryl/capramidopropyl betaine
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic aloe barbadensis leaf juice
              •   organic calendula officinalis flower
                  extract
              •   organic olea europaea (olive) leaf extract
              •   organic glycerin
              •   citric acid
              •   trisodium ethylenediamine disuccunate
              •   phenoxyethanol
              •   ethylhexylglycerin
              •   sodium benzoate
              •   bergamot terpenes
              •   davana oil
              •   grapefruit terpenes
              •   mandarin petitgrain
              •   caprylic/capric tryglyceride
              •   orange oil florida
              •   orange terpenes
              •   peru balsam oil
              •   petitgrain oil
              •   tangerine oil

                                              40
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 41 of 86



            •   vanillin natural
Babyganics •    water
night time  •   sodium lauroyl methyl isethionate
shampoo
            •   caprylyl/capryl glucoside
and body
wash orange •   propanediol
blossom     •   acrylates copolymer
            •   sodium lauroyl oat amino acids
            •   glycerin
            •   ethylhexylglycerin
            •   citric acid
            •   trisodium ethylenediamine disuccinate
            •   dehydroacetic acid
            •   solanum lycopersicum (tomato) seed oil
            •   organic helianthus annuus (sunflower)
                seed oil
            •   vaccinium macrocarpon (cranberry) seed
                oil
            •   organic nigella sativa (black cumin) seed
                oil
            •   rubus idaeus (red raspberry) seed oil
            •   phenoxyethanol
            •   sodium hydroxide
            •   sodium phytate
            •   organic aloe barbadensis leaf juice
            •   organic cucumis sativus (cucumber) fruit
                extract
            •   organic chamomilla recutita (matricaria)
                flower extract
            •   organic persea gratissima (avocado) fruit
                extract
            •   bergamot terpenes
            •   davana oil
            •   grapefruit terpenes
            •   mandarin petitgrain
            •   caprylic/capric tryglyceride
            •   orange oil florida
            •   orange terpenes
            •   peru balsam oil
            •   petitgrain oil


                                           41
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 42 of 86



              •   tangerine oil
              •   vanillin natural
Babyganics    •   organic helianthus annuus (sunflower)
organic lip       seed oil
and face      •   organic beeswax
balm
              •   organic cocos nucifera (coconut) oil
fragrance
free          •   organic ricinus communis (castor) oil
              •   organic butyrospermum parkii (shea)
                  butter
              •   organic calendula officinalis flower oil
              •   tocopherol
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
Babyganics    •   titanium dioxide 7.9%
pure          •   zinc oxide 6%
mineral
              •   c12-15 alkyl benzoate
sunscreen
stick 50+     •   caprylic/capric triglyceride
SPF           •   organic beeswax
              •   organic copernicia cerifera (carnuba)
                  wax
              •   neopentyl glycol diethylhexanoate
              •   tribehenin
              •   euphorbia cerifera (candelilla) wax
              •   ppg-3 benzyl ether myristate
              •   hydrogenated                        dimer
                  dilinoleyl/dimethylcarbonate copolymer
              •   helianthus annuus (sunflower) seed wax
              •   myristyl myristate
              •   stearyl/octadodecyl citrate crosspolymer
              •   organic simmondsia chinensis (jojoba)
                  seed oil
              •   polyqlycervl-1o pentaoleate
              •   jojoba esters
              •   solanum lycopersicum (tomato) seed oil
              •   organic helianthus annuus (sunflower)
                  seed oil


                                             42
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 43 of 86



             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   polyhydroxystearic acid
             •   caprylyl glycol
             •   ethylhexylglycerin
             •   silica
             •   alumina
Babyganics   •   titanium dioxide 3.0$
pure         •   zinc oxide 3.0%
mineral
             •   water
sunscreen
30 SPF       •   butyloctyl salicylate
             •   cetearyl olivate
             •   organic cocos nucifera (coconut) oil
             •   sorbitan olivate
             •   caprylic/capric triglyceride
             •   organic carthamus tinctorius (safflower)
                 seed oil
             •   cetyl alcohol
             •   stearyl/octadodecyl citrate crosspolymer
             •   organic glycerin
             •   hydrogenated                        dimer
                 dilinoleyl/dimethylcarbonate copolymer
             •   ozokerite
             •   organic simmondsia chinensis (jojoba)
                 seed oil
             •   organic butyrospermum parkii (shea)
                 butter
             •   organic theobroma cacao (cocoa) seed
                 butter
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil

                                            43
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 44 of 86



             •   jojoba esters
             •   squalene
             •   glyceryl caprylate
             •   arachidyl alcohol
             •   behenyl alcohol
             •   arachidyl glucoside
             •   sucrose stearate
             •   stearic acid
             •   polyglyceryl-2 caprate
             •   xanthan gum
             •   polyhydroxystearic acid
             •   silica
             •   alumina
             •   trisodium ethylenediamine disuccinate
             •   ethylhexylglycerin
             •   phenoxyethanol
Babyganics   •   water
shampoo      •   sodium lauroyl methyl isethionate
and body
             •   caprylyl/capryl glucoside
wash
chamomile    •   propanediol
verbena      •   acrylates copolymer
             •   sodium lauroyl oat amino acids
             •   glycerin
             •   ethylhexylglycerin
             •   citric acid
             •   trisodium ethylenediamine disuccinate
             •   dehydroacetic acid
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   phenoxyethanol
             •   sodium hydroxide
             •   sodium phytate
             •   organic aloe barbadensis leaf juice

                                            44
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 45 of 86



     •   organic cucumis sativus (cucumber) fruit
         extract
     •   organic chamomilla recutita (matricaria)
         flower extract
     •   organic persea gratissima (avocado) fruit
         extract
     •   aldehyde c-14 natural
     •   allyl caproate natural
     •   balsam copaiba
     •   cedarwood virginiana oil
     •   chamomile roman
     •   cis 3 hexenyl acetate natural
     •   coumarin natural cucumber oil natural
     •   davana oil
     •   eucalyptus oil
     •   galbanum oil
     •   geranium eqyptian
     •   hexyl acetate (c-6) natural
     •   ionone beta natural
     •   lemon oil washed
     •   lime oil
     •   methyl cinnamate
     •   caprylic/capric triglyceride
     •   palmarosa oil
     •   rose otto bulgarian
     •   vanillin




                                    45
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 46 of 86



Babyganics   •   water
shampoo      •   sodium lauroyl methyl isethionate
and body
             •   caprylyl/capryl glucoside
wash
fragrance    •   propanediol
free         •   acrylates copolymer
             •   sodium lauroyl oat amino acids
             •   glycerin
             •   ethylhexylglycerin
             •   citric acid
             •   trisodium ethylenediamine disuccinate
             •   dehydroacetic acid
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   phenoxyethanol
             •   sodium hydroxide
             •   sodium phytate
             •   organic aloe barbadensis leaf juice
             •   organic cucumis sativus (cucumber) fruit
                 extract
             •   organic chamomilla recutita (matricaria)
                 flower extract
             •   organic persea gratissima (avocado) fruit
                 extract




                                            46
      Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 47 of 86



Babyganics   •   ricinus communis (castor) seed oil
soothing     •   hydrogenated castor oil
protective
             •   organic beeswax
ointment
             •   organic cocos nucifera (coconut) oil
             •   lanolin
             •   tocopherol
             •   organic calendula officinalis flower
                 extract
             •   organic simmondsia chinensis (jojoba)
                 seed oil
             •   solanum lycopersicum (tomato) seed oil
             •   organic helianthus annuus (sunflower)
                 seed oil
             •   vaccinium macrocarpon (cranberry) seed
                 oil
             •   organic nigella sativa (black cumin) seed
                 oil
             •   rubus idaeus (red raspberry) seed oil
             •   organic glycine soja (soybean) oil
Babyganics   •   deionized water
stain and    •   sodium                    laurylglucosides
odor             hydroxypropylsulfonate l
remover
             •   lauryl dimethylamine oxide
fragrance
free         •   sodium gluconate
             •   sodium citrate dehydrate
             •   lauryl glucoside
             •   caprylyl/myristyl glucoside
             •   proplene glycol
             •   methylisothiazolinone




                                             47
        Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 48 of 86



Babyganics     •   water
stain eraser   •   decyl glucoside
fragrance
               •   methylglycinediacetic acid
free
               •   potassium cocoate
               •   sodium gluconate
               •   sodium citrate
               •   phenoxyethanol
               •   caprylyl glycol




Babyganics     •   water
toy and        •   decyl glucoside
highchair
               •   trisodium ethylenediamine disuccinate
cleaner
fragrance      •   methylisothiazolinone
free




                                                48
        Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 49 of 86



Babyganics     •   water
toy, table     •   caprylyl/myristyl glucoside
and
               •   tetrasodium glutamate diacetate
highchair
wipes          •   magnesium chloride
fragrance      •   magnesium nitrate
free           •   methyl chloro isothiazolinone
               •   methyl isothiazolinone




Babyganics     •   water
tub and tile   •   lactic acid
cleaner
               •   cocamidopropyl betaine
fragrance
free           •   sodium hydroxide
               •   decyl glucoside
               •   trisodium ethylenediamine disuccinate
               •   ethylhydroxyethyl cellulose
               •   methylisothiazolinone




Babyganics
ultra
absorbent
diapers size
newborn




                                             49
        Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 50 of 86



Babyganics
ultra
absorbent
diapers size
1




Babyganics
ultra
absorbent
diapers size
2




Babyganics
ultra
absorbent
diapers size
3




Babyganics
ultra
absorbent
diapers size
4




                                      50
        Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 51 of 86



Babyganics
ultra
absorbent
diapers size
5




Babyganics
ultra
absorbent
diapers size
6




                                      51
       Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 52 of 86



Babyganics    •   water
vapor         •   sodium lauroyl methyl isethionate
bubble bath
              •   disodium cocoamphodiacetate
              •   coco-glucoside
              •   lauryl glucoside
              •   capryl/capramidopropyl betaine
              •   solanum lycopersicum (tomato) seed oil
              •   vaccinium macrocarpon (cranberry) seed
                  oil
              •   organic nigella sativa (black cumin) seed
                  oil
              •   rubus idaeus (red raspberry) seed oil
              •   organic aloe barbadensis leaf juice
              •   organic calendula officinalis flower
                  extract
              •   organic olea europaea (olive) leaf extract
              •   organic glycerin
              •   citric acid
              •   trisodium ethylenediamine disuccinate
              •   phenoxyethanol
              •   ethylhexylglycerin
              •   sodium benzoate
              •   camphor
              •   cedarwood virginiana oil
              •   citronellol natural
              •   clary sage oil
              •   eucalyptol natural
              •   eucalyptus oil
              •   laevo linalool natural
              •   lavandin
              •   lime oil
              •   menthol crystals
              •   pine (fir) needle siberian
              •   rosemary
              •   terpineol alpha natural
              •   thyme oil
              •   vanillin




                                              52
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 53 of 86



        31.     Defendants’ scheme to exploit consumer demand for organic products by falsely

advertising their Products as organic has been extraordinarily successful. In 2014, it was reported

that Defendants experienced 277 percent sales growth over a 3-year period, and they were named

to the Inc. 5000 list of fastest growing private companies.

        32.     The majority of the Products are intended to be rubbed, poured, sprinkled, or

sprayed on; introduced into; or otherwise applied to the human body, or any part of the human

body, for cleansing, beautifying, promoting attractiveness, or altering the appearance, and are thus

“cosmetics” under California law. CAL. HEALTH & SAFETY CODE § 109900.

        33.     The California Organic Products Act of 2003 (“COPA”) provides that “no product

shall be sold as organic pursuant to this article unless it is produced according to regulations

promulgated by the NOP, and consists entirely of products manufactured only from raw or

processed agricultural products.” CAL. HEALTH & SAFETY CODE § 110820. “‘Sold as organic’

means any use of the terms ‘organic,’ ‘organically grown,’ or grammatical variations of those

terms, whether orally or in writing, in connection with any product grown, handled, processed,

sold, or offered for sale in this state, including, but not limited to, any use of these terms in labeling

or advertising of any product and any ingredient in a multi-ingredient product.” CAL. HEALTH &

SAFETY CODE § 110815(k).

        34.     Furthermore, under COPA, “Cosmetic products sold, labeled, or represented as

organic or made with organic ingredients shall contain, at least 70 percent organically produced

ingredients.” CAL. HEALTH & SAFETY CODE § 110838(b). “Multi-ingredient cosmetic products

sold as organic in California with less than 70 percent organically produced ingredients, by weight

or by fluid volume, excluding water and salt, may only identify the organic content.” CAL. HEALTH

& SAFETY CODE § 110839.



                                                   53
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 54 of 86



       35.    Defendants’ use of the name “Babyganics” on packaging, labeling, and advertising

of the Products—which looks and sounds like the word “organics”—constitutes selling, labeling,

and representing the Products as organic under COPA. The Products are thus “sold as organic”

pursuant to COPA as they are advertised and labeled as “Babyganics” and sold in California.

B.     Defendants Misrepresent the Sunscreens are “Mineral-Based.”

       36.    Active ingredients in sunscreens come in two forms, physical barriers and chemical

filters. Chemical filters are absorbed into the skin and absorb UVA and UVB rays. Physical

barriers, usually minerals Zinc Oxide or Titanium Dioxide, are not absorbed into the skin and

instead create a physical barrier between the skin and UVA and UVB rays.

       37.    Throughout the Class Period Defendants have continually advertised and marketed

the following sunscreens as “mineral-based”:

      Mineral-Based Sunscreen Lotion                  Mineral-Based Sunscreen Spray




       38.    The “mineral-based” lotion lists the following active ingredients on the back of

their packaging: Octisalate (5.0%), Titanium Dioxide (3.0%), and Zinc Oxide (6.0%). Likewise,

the “mineral-based” spray lists the following active ingredients on the back of their packaging:

                                               54
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 55 of 86



Zinc Oxide (11.2%), Octinoxate (7.5%), Octisalate (5.0%). Both Octinoxate and Octisalate are

chemical compounds. Defendants’ labeling of these sunscreens as “mineral-based” is therefore

false, misleading, deceptive, fraudulent, and unfair.

       39.     Defendants’ labeling of the Products as “mineral-based” unequivocally

demonstrates their intent to persuade consumers that all active ingredients in the Products are

mineral-based. However, Defendants’ “mineral-based” sunscreens’ active ingredients include

Octinoxate and Octisalate, both of which are non-mineral, chemical compounds.

       40.     Defendants are well aware of consumers’ concerns regarding chemical sunscreens.

It has a close relationship with the Environmental Working Group (“EWG”), with whom it

founded a “sun safety coalition.” Through this coalition, EWG promotes the theory that physical

sunscreens are safer than chemical sunscreens. According to EWG, “Two European studies have

detected sunscreen chemicals [including Octinoxate] in mothers’ milk, indicating that the

developing fetus and newborns may be exposed to these substances.” 1 EWG lists Octinoxate as a

UV filter with “higher toxicity concerns” and a potential endocrine disruptor and known skin

allergen. Octisalate is listed as a “moderate toxicity” concern by EWG.

       41.     As part of this lobbying effort, EWG publishes an annual Guide to Sunscreens with

ratings of hundreds of different sunscreens. It consistently rates mineral sunscreens higher than

chemical sunscreens, based in large part on the idea that the mineral sunscreens are safer. Notably,

EWG gives a high rating to Defendants’ “mineral-based” sunscreen, even higher than Defendants’

actual mineral sunscreen which is labeled as “Pure.”




1
 Environmental Working Group, The Trouble With Sunscreen Chemicals (last visited Oct. 13,
2015), available at: http://www.ewg.org/2015sunscreen/report/the-trouble-with-sunscreen-
chemicals/.
                                                 55
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 56 of 86



       42.     Defendants save considerable resources during the manufacturing process when

using chemical sunscreens. Octinoxate and Octisalate cost less than Titanium Dioxide (which has

been the subject of several price fixing lawsuits in recent years) and Zinc Oxide.

       43.     Defendants knew or reasonably should have known that their representations

regarding their sunscreens’ ingredients are false, deceptive, misleading, and unlawful under

California, New York, and Florida laws. In fact, Defendants have received numerous consumer

complaints about their labeling on Amazon.com:

       Not true mineral sunscreen - buyer beware

       Bymamagleeon August 7, 2014

       This is not a chemical free sunblock! I purchased this as it is described as 'mineral
       based.' Technically it is mineral based because it contains zinc oxide, but the other
       2 active ingredients are chemicals which most people looking for mineral sunblock
       are attempting to avoid. Buyer be aware that the the active ingredients lists
       Octinoxate 7.5% and Octisalate 5.0% (in addition to the zinc oxide) True mineral
       based sunscreen should have the active ingredients of zinc oxide and/or titanium
       oxide and that's all. More info here for those who are interested:
       http://www.ewg.org/2014sunscreen/the-trouble-with-sunscreen-chemicals/

       The product packaging is misleading

       Misleading name of product and off-putting smell

       ByAlison Hayward "emergentologist"on July 25, 2015

       Size: 6 Ounce (Pack of 2)Style Name: SPF 50Verified Purchase

       Foolishly I didn't read the reviews and didn't realize that something advertised as
       mineral sunscreen might also have chemical ingredients in it. Obviously I'm
       purchasing mineral sunscreen because I don't want chemical sunscreen, so I regret
       this purchase. Also, I would recommend trying a sample of this somehow before
       purchasing this quantity... it smells really off-putting to me, strongly like fake
       flowers.

       Pretty annoyed that I bought this "mineral based sunscreen" only ...
       Byafrodeityon September 18, 2014
       Size: 6 Ounce (Pack of 2)Package Type: Frustration-Free PackagingVerified Purchase

       Pretty annoyed that I bought this "mineral based sunscreen" only to receive it, start
       using it and realize that 2 of the three active ingredients are chemical sunscreens,
       i.e. Octinoxate (7.5%) and Octisalate (5.0%). There is also zinc oxide (11.7%), but
       that is beside the point. If you want a physical sunscreen, which is what I was
       looking for, DO NOT BUY THIS. Chemical sunscreens actually are designed to

                                                56
           Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 57 of 86



         absorb into the skin and can disrupt your hormonal balance, amongst other things.
         I would not want to expose my babies to that risk. The product info is very
         misleading.

         44.      Reasonable consumers, including Plaintiffs Mayhew, Alibhai, and Festa purchased

the sunscreen Products based upon their belief they were mineral-based. However, a reasonable

consumer would not deem the Products to be mineral-based if he or she knew the active ingredients

included chemical sunscreens.

         45.      Hence, Defendants’ claims that the Sunscreens are mineral-based are false and

misleading.

         46.      Defendants’ labeling is effective. Their “mineral-based” sunscreen lotion is the “#1

Best Seller in Baby Sun Protection” on Amazon.com.

         47.      In fact, Plaintiffs Mayhew, Alibhai, and Festa and members of the Sunscreen Class

suffered an ascertainable loss in at least the following amounts, in that they paid a premium for

Defendants’ Sunscreens over comparable products that are not marketed as mineral or organic: 2

               a. Babyganics Mineral-Based Sunscreen Spray - $2.32 per ounce

               b. Coppertone Water Babies Sunscreen Spray - $1.76 per ounce

               c. Babyganics Mineral-Based Sunscreen Lotion - $2.24 per ounce

               d. Coppertone Water Babies Sunscreen Lotion - $1.34 per ounce

C.       Defendants Misrepresent the Products are “Natural.”

         48.      Defendants have systematically marketed and advertised the Products throughout

the United States as “natural” on the front label of the Products, such that any United States

consumer who purchased the Products, or who purchases the Products in the future, is exposed to

Defendants’ “natural” claim.




2
    Based on prices listed on Diapers.com.
                                                   57
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 58 of 86



       49.     Whether Defendants’ labeling of the Products as “natural” is deceptive is judged

by whether it would deceive or mislead a reasonable person. To assist in ascertaining what a

reasonable consumer believes the term “natural” means, one can look to the regulatory agencies

for their guidance. For example, the Food and Drug Administration (“FDA”) takes the position

that natural “mean[s] that nothing artificial or synthetic” has been included in or added to the

product. 58 Fed. Reg. 2302, 2407 (Jan. 6, 1993).

       50.     As guidance as to what a reasonable consumer believes the term “synthetic” means,

the United States Department of Agriculture (“USDA”) defines “synthetic” as “a substance that is

formulated or manufactured by a chemical process or by a process that chemically changes a

substance extracted from naturally occurring plant, animal, or mineral sources . . . .” 7 U.S.C. §

6502(21).

       51.     As such, a reasonable consumer would not believe that a “natural” product would

contain synthetic ingredients.

       52.     Contrary to Defendants’ representations, and to the detriment of consumers, the

Products contains one or more ingredients that a reasonable consumer would not deem natural. See

supra ¶ 30.

       53.     To label the Products as “natural” creates consumer deception and confusion. A

reasonable consumer purchases the Products believing they are “natural” (i.e. they do not contain

synthetic ingredients) based on the Products’ label. However, a reasonable consumer would not

deem the Products to be “natural” if the consumer knew that the Products contain synthetic

ingredients.

       54.     Defendants’ conduct harms consumers by inducing them to purchase and use

Products containing synthetic ingredients on the false premise that the Products are “natural,”



                                               58
           Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 59 of 86



when the consumers would not have otherwise purchased and used the Products, and by inducing

consumers to pay a premium price for the Products.

                                   RULE 9(B) ALLEGATIONS

       55.     Federal Rule of Civil Procedure (“Rule”) 9(b) provides that “[i]n alleging fraud or

mistake, a party must state with particularity the circumstances constituting fraud or mistake.” Fed.

R. Civ. P. 9(b). As detailed in the paragraphs above, Plaintiff has satisfied the requirements of Rule

9(b) by establishing the following elements with sufficient particularity:

       56.     WHO: Defendants made material misrepresentations to Plaintiffs and the Class and

failed to adequately disclose material facts as detailed herein. Except as identified herein, Plaintiffs

are unaware, and therefore unable to identify, the true names and identities of those individuals at

Defendants who are responsible for such material misrepresentations and omissions.

       57.     WHAT: Defendants made material misrepresentations regarding the organic,

mineral-based, and natural quality of the Products. Specifically, Defendants misrepresented the

sunscreen Products are “mineral-based.” Also, Defendants misrepresented the Products are

organic by using the trade name “Babyganics.” Finally, Defendants misrepresented the Products

are natural by labeling the products as ” Natural.” These representations are false and misleading

because the Products contain, among other things, Octinoxate, Octisalate, Arachidyl Glucoside,

Butylene      Glycol,     Ethylhexylglycerin,      Glycerin,      Hydroxyethyl       Acrylate/Sodium,

Acryloyldimethyltaurate      Copolymer,      Polyhydroxystearic     Acid,    Polysorbate     60,    and

Phenoxyethanol, in contradiction to Defendants’ claims.

       58.     WHEN: Defendants made the material misrepresentations, omissions, and non-

disclosures detailed herein continuously at every point of purchase and consumption throughout

the Class Period. Specifically, Plaintiff Alibhai purchased the purchased the Sunscreen on or about

2012 and other Products on or about 2013 Plaintiff Mayhew purchased the Sunscreen and
                                                  59
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 60 of 86



Shampoo & Body Wash on or about 2015, and Plaintiff Festa purchased the Shampoo, Body wash,

and Lotion on or about 2016.

       59.     WHERE: Defendants’ material misrepresentations, omissions, and non-disclosures

detailed herein were made, inter alia, on the packaging of the Products. Plaintiff Alibhai purchased

the Sunscreen and other Products at ToysRUs in California, Plaintiff Mayhew purchased the

Sunscreens and Shampoo & Body Wash at Target in New York, and Plaintiff Festa purchased the

Shampoo, Body Wash, and Lotion at BabiesRUs in Florida.

       60.     HOW: Defendants made numerous written material misrepresentations on the

packaging of the Products which were designed to, and, in fact, did, mislead Plaintiffs and the

Class into purchasing the Products.

       61.     WHY: Defendants engaged in the material misrepresentations, omissions, and non-

disclosures detailed herein for the express purpose of inducing Plaintiff and other reasonable

consumers to purchase and/or pay a premium for the Products based on the belief the Products are

organic, mineral-based, or natural. Defendants profited by selling the Products to thousands of

unsuspecting consumers.

                                      CLASS ALLEGATIONS

       62.     Plaintiffs bring this matter on behalf of themselves and those similarly situated. As

detailed at length in this Amended Complaint, Defendants orchestrated deceptive marketing and

labeling practices. Defendants’ customers were uniformly impacted by and exposed to this

misconduct. Accordingly, this Amended Complaint is uniquely situated for class-wide resolution,

including injunctive relief.

       63.     The Class is defined as all consumers who purchased the Products anywhere in the

United States during the Class Period (the “Class”).



                                                60
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 61 of 86



       64.       Plaintiffs also seek certification, to the extent necessary or appropriate, of a subclass

of individuals who purchased the Products in the State of New York at any time during the Class

Period (the “New York Subclass”), of a subclass of individuals who purchased the Products in the

State of California at any time during the Class Period (the “California Subclass”), and of a

subclass of individuals who purchased the Products in the State of Florida at any time during the

Class Period (the “Florida Subclass”) .

       65.       Additionally, Plaintiff Alibhai brings this action on behalf of the following sub-

class: All persons who, during the Class Period, purchased any of Defendants’ sunscreen labeled

as mineral-based in California (“the “Sunscreen Subclass”).

       66.       The Class, the New York Subclass, the California Subclass, the Florida Subclass,

and the Sunscreen Subclass shall be referred to collectively throughout the Amended Complaint

as the Class.

       67.       The Class is properly brought and should be maintained as a class action under Rule

23(a), satisfying the class action prerequisites of numerosity, commonality, typicality, and

adequacy because:

       68.       Numerosity: Class Members are so numerous that joinder of all members is

impracticable. Plaintiffs believe that there are thousands of consumers who are Class Members

who have been damaged by Defendants’ deceptive and misleading practices.

       69.       Commonality: The questions of law and fact common to the Class Members which

predominate over any questions which may affect individual Class Members include, but are not

limited to:

              a. Whether Defendants engaged in fraudulent, unfair, unlawful, or deceptive
                 business practices by falsely representing the ingredients in their
                 Sunscreens;



                                                    61
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 62 of 86



             b. Whether Defendants engaged in fraudulent, unfair, unlawful, or deceptive
                business practices by representing that their Products are organic;

             c. Whether Plaintiff and the Class are entitled to equitable and/or injunctive
                relief;

             d. Whether Defendants’ fraudulent unlawful, unfair, and deceptive practices
                harmed Plaintiff and the Class; and

             e. Whether Defendants were unjustly enriched by their deceptive practices.

       70.      Typicality: Plaintiffs are members of the Class. Plaintiffs’ claims are typical of the

claims of each Class Member in that every member of the Class was susceptible to the same

deceptive, misleading conduct and purchased the Defendants’ Products. Plaintiffs are entitled to

relief under the same causes of action as the other Class Members.

       71.      Adequacy: Plaintiffs are adequate Class representatives because their interests do

not conflict with the interests of the Class Members they seek to represent; their consumer fraud

claims are common to all members of the Class, and they have a strong interest in vindicating their

rights; and they have retained counsel competent and experienced in complex class action

litigation, and they intend to vigorously prosecute this action. Plaintiffs have no interests which

conflict with those of the Class. The Class Members’ interests will be fairly and adequately

protected by Plaintiffs and their counsel. Defendants have acted in a manner generally applicable

to the Class, making relief appropriate with respect to Plaintiffs and the Class Members. The

prosecution of separate actions by individual Class Members would create a risk of inconsistent

and varying adjudications.

       72.      The Class is properly brought and should be maintained as a class action under Rule

23(b) because a class action is superior to traditional litigation of this controversy. Pursuant to

Rule 23(b)(3), common issues of law and fact predominate over any other questions affecting only

individual members of the Class. The Class issues fully predominate over any individual issue

because no inquiry into individual conduct is necessary; all that is required is a narrow focus on

                                                 62
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 63 of 86



Defendants’ deceptive and misleading marketing and labeling practices. In addition, this Class is

superior to other methods for fair and efficient adjudication of this controversy because, inter alia:

       73.      Superiority: A class action is superior to the other available methods for the fair

and efficient adjudication of this controversy because:

             a. The joinder of thousands of individual Class Members is impracticable,
                cumbersome, unduly burdensome, and a waste of judicial and litigation
                resources;

             b. The individual claims of the Class Members may be relatively modest
                compared with the expense of litigating the claim, thereby making it
                impracticable, unduly burdensome, and expensive—if not totally
                impossible—to justify individual actions;

             c. When Defendants’ liability has been adjudicated, all Class Members’
                claims can be determined by the Court and administered efficiently in a
                manner far less burdensome and expensive than if it were attempted through
                filing, discovery, and trial of all individual cases;

             d. This class action will promote orderly, efficient, expeditious, and
                appropriate adjudication and administration of Class claims;

             e. Plaintiffs know of no difficulty to be encountered in the management of this
                action that would preclude its maintenance as a class action;

             f. This class action will assure uniformity of decisions among Class Members;

             g. The Class is readily definable and prosecution of this action as a class action
                will eliminate the possibility of repetitious litigation;

             h. Class Members’ interests in individually controlling the prosecution of
                separate actions is outweighed by their interest in efficient resolution by a
                single class action; and

             i. It would be desirable to concentrate in this single venue the litigation of all
                Class Members who were induced by Defendants’ uniform false advertising
                to purchase their products as being “organic” or “natural.”

       74.      Accordingly, this Class is properly brought and should be maintained as a class

action under Rule 23(b)(3) because questions of law or fact common to Class Members

predominate over any questions affecting only individual members and because a class action is

superior to other available methods for fairly and efficiently adjudicating this controversy.




                                                  63
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 64 of 86



                                  INJUNCTIVE CLASS RELIEF

       75.      Rules 23(b)(1) and (2) contemplate a class action for purposes of seeking class-

wide injunctive relief. Here, Defendants have engaged in conduct resulting in misleading

consumers about ingredients in their Products. Since Defendants’ conduct has been uniformly

directed at all consumers in the United States, and the conduct continues presently, injunctive relief

on a class-wide basis is a viable and suitable solution to remedy Defendants’ continuing

misconduct. Plaintiffs would purchase the Products again if the ingredients were changed so that

they were indeed “organic” and “natural” as represented by Defendants.

       76.      The injunctive Class is properly brought and should be maintained as a class action

under Rule 23(a), satisfying the class action prerequisites of numerosity, commonality, typicality,

and adequacy because:

             a. Numerosity: Individual joinder of the injunctive Class Members would be
                wholly impracticable. Defendants’ Products have been purchased by
                thousands of people throughout the United States;

             b. Commonality: Questions of law and fact are common to members of the
                Class. Defendants’ misconduct was uniformly directed at all consumers.
                Thus, all Class Members have a common cause against Defendants to stop
                their misleading conduct through an injunction. Since the issues presented
                by this injunctive Class deal exclusively with Defendants’ misconduct,
                resolution of these questions would necessarily be common to the entire
                Class. Moreover, there are common questions of law and fact inherent in
                the resolution of the proposed injunctive class, including, inter alia:

                    i.   Resolution of the issues presented in the 23(b)(3) class;

                   ii.   Whether Class Members will continue to suffer harm by virtue of
                         Defendants’ deceptive Products’ marketing and labeling; and

                  iii.   Whether, on equitable grounds, Defendants should be prevented
                         from continuing to deceptively mislabel their Products as being
                         “organic” or “natural.”

             c. Typicality: Plaintiffs’ claims are typical of the claims of the injunctive Class
                because their claims arise from the same course of conduct (i.e. Defendants’
                deceptive and misleading marketing, labeling, and advertising practices).
                Plaintiffs are typical representatives of the Class because, like all members


                                                   64
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 65 of 86



                of the injunctive Class, they purchased Defendants’ Products which were
                sold unfairly and deceptively to consumers throughout the United States.

             d. Adequacy: Plaintiffs will fairly and adequately represent and protect the
                interests of the injunctive Class. Their consumer protection claims are
                common to all members of the injunctive Class and they have strong
                interests in vindicating their rights. In addition, Plaintiffs and the Class are
                represented by counsel who are competent and experienced in both
                consumer protection and class action litigation.

       77.      The injunctive Class is properly brought and should be maintained as a class action

under Rule 23(b)(2) because Plaintiffs seek injunctive relief on behalf of the Class Members on

grounds generally applicable to the entire injunctive Class. Certification under Rule 23(b)(2) is

appropriate because Defendants have acted or refused to act in a manner that applies generally to

the injunctive Class (i.e. Defendants have marketed their Products using the same misleading and

deceptive labeling to all of the Class Members). Any final injunctive relief or declaratory relief

would benefit the entire injunctive Class as Defendants would be prevented from continuing their

misleading and deceptive marketing practices and would be required to honestly disclose to

consumers the nature of the contents of their Products. Plaintiffs would purchase the Products

again if the ingredients were changed so that they were indeed “organic” or “natural” as

represented by Defendants.

                               FIRST CAUSE OF ACTION
                        VIOLATION OF NEW YORK GBL § 349
    (On Behalf of Plaintiff Mayhew and All Class and/or New York Subclass Members)

       78.      Plaintiff Mayhew repeats and realleges each and every allegation contained in all

the foregoing paragraphs as if fully set forth herein.

       79.      New York General Business Law Section 349 (“GBL § 349”) declares unlawful

“[d]eceptive acts or practices in the conduct of any business, trade, or commerce or in the

furnishing of any service in this state.”




                                                   65
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 66 of 86



       80.     The conduct of Defendants alleged herein constitutes recurring, “unlawful”

deceptive acts and practices in violation of GBL § 349, and as such, Plaintiff Mayhew and the

Class and/or New York Subclass Members seek monetary damages and the entry of preliminary

and permanent injunctive relief against Defendants, enjoining them from inaccurately describing,

labeling, marketing, and promoting the Products.

       81.     There is no adequate remedy at law.

       82.     Defendants misleadingly, inaccurately, and deceptively presents their Products to

consumers.

       83.     Defendants’ improper consumer-oriented conduct—including labeling and

advertising the Products as being “organic,” “mineral-based,” and “natural”—is misleading in a

material way in that it, inter alia, induced Plaintiff Mayhew and Class and/or New York Subclass

Members to purchase and pay a premium for Defendants’ Products and to use the Products when

they otherwise would not have. Defendants made their untrue and/or misleading statements and

representations willfully, wantonly, and with reckless disregard for the truth.

       84.     Plaintiff Mayhew and the Class and/or New York Subclass Members have been

injured inasmuch as they paid a premium for products that are—contrary to Defendants’

representations—not “organic,” “mineral-based,” or “natural.” Accordingly, Plaintiff Mayhew and

the Class and/or New York Subclass Members received less than what they bargained and/or paid

for.

       85.     Defendants’ advertising and Products’ packaging and labeling induced Plaintiff

Mayhew and the Class and/or New York Subclass Members to buy Defendants’ Products and to

pay a premium price for it.




                                                66
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 67 of 86



         86.    Defendants’ deceptive and misleading practices constitute a deceptive act and

practice in the conduct of business in violation of New York General Business Law §349(a) and

Plaintiff Mayhew and the Class have been damaged thereby.

         87.    As a result of Defendants’ recurring, “unlawful” deceptive acts and practices,

Plaintiff Mayhew and the Class and/or New York Subclass Members are entitled to monetary,

compensatory, treble, and punitive damages; injunctive relief, restitution, and disgorgement of all

moneys obtained by means of Defendants’ unlawful conduct; and interest, attorneys’ fees, and

costs.

                             SECOND CAUSE OF ACTION
                        VIOLATION OF NEW YORK GBL § 350
    (On Behalf of Plaintiff Mayhew and All Class and/or New York Subclass Members)

         88.    Plaintiff Mayhew repeats and realleges each and every allegation contained in all

the foregoing paragraphs as if fully set forth herein.

         89.    N.Y. Gen. Bus. Law § 350 provides, in part, as follows:

         False advertising in the conduct of any business, trade or commerce or in the
         furnishing of any service in this state is hereby declared unlawful.

         90.    N.Y. Gen. Bus. Law § 350a(1) provides, in part, as follows:

         The term ‘false advertising, including labeling, of a commodity, or of the kind,
         character, terms or conditions of any employment opportunity if such advertising
         is misleading in a material respect. In determining whether any advertising is
         misleading, there shall be taken into account (among other things) not only
         representations made by statement, word, design, device, sound or any
         combination thereof, but also the extent to which the advertising fails to reveal
         facts material in the light of such representations with respect to the commodity or
         employment to which the advertising relates under the conditions proscribed in
         said advertisement, or under such conditions as are customary or usual . . .

         91.    Defendants’ labeling and advertisements contain untrue and materially misleading

statements concerning Defendants’ Products inasmuch as it misrepresented that the Products are

“organic” and “natural.”




                                                  67
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 68 of 86



         92.   Plaintiff Mayhew and the Class and/or New York Subclass Members have been

injured inasmuch as they relied upon the labeling, packaging, and advertising and paid a premium

for the Products which are—contrary to Defendants’ representations—not “organic,” “mineral-

based,” or “natural.” Accordingly, Plaintiff Mayhew and the Class and/or New York Subclass

Members received less than what they bargained and/or paid for.

         93.   Defendants’ advertising, packaging, and products’ labeling induced Plaintiff

Mayhew and the Class and/or New York Subclass Members to buy Defendants’ Products.

         94.   Defendants made their untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

         95.   Defendants’ conduct constitutes multiple, separate violations of N.Y. Gen. Bus.

Law § 350.

         96.   Defendants made the material misrepresentations described in this Amended

Complaint in Defendants’ advertising and on the Products’ packaging and labeling.

         97.   Defendants’ material misrepresentations were substantially uniform in content,

presentation, and impact upon consumers at large. Moreover, all consumers purchasing the

Products were and continue to be exposed to Defendants’ material misrepresentations.

         98.   As a result of Defendants’ recurring, “unlawful” deceptive acts and practices,

Plaintiff Mayhew and the Class and/or New York Subclass Members are entitled to monetary,

compensatory, treble and punitive damages; injunctive relief, restitution, and disgorgement of all

moneys obtained by means of Defendants’ unlawful conduct; and interest, attorneys’ fees, and

costs.




                                                 68
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 69 of 86



                               THIRD CAUSE OF ACTION
     VIOLATION OF THE “UNLAWFUL” PRONG OF THE CALIFORNIA UCL
   (On Behalf of Plaintiff Alibhai and the California and Sunscreen Subclass Members)

       99.      Plaintiff Alibhai repeats and re-alleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       100.     California’s Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair, or

fraudulent” business practice. Cal Bus. & Prof. Code § 17200. Defendants’ labeling of their

“mineral-based” sunscreens and Products as “organic” and “natural” is “unlawful,” “unfair,” and

“fraudulent.”

       101.     A business practice is “unlawful” under the UCL if it violates any other law or

regulation.

       102.     Defendants’ use of the label “Babyganics” is a violation of COPA.

       103.     As a result of the conduct described above, Defendants have been, and will continue

to be, unjustly enriched at the expense of Plaintiff Alibhai and the Class and/or California and

Sunscreen Subclass Members. Specifically, Defendants have been enriched by obtaining revenues

and profits it would not otherwise have obtained absent their false, misleading, and deceptive

practices.

       104.     Plaintiff Alibhai seeks to enjoin further unlawful, unfair, and/or fraudulent acts or

practices by Defendants, to obtain restitutionary disgorgement of all monies and revenues

generated as a result of such practices, and all other relief allowed under California Business &

Professions Code § 17200.

                              FOURTH CAUSE OF ACTION
       VIOLATION OF THE “UNFAIR” PRONG OF THE CALIFORNIA UCL
   (On Behalf of Plaintiff Alibhai and the California and Sunscreen Subclass Members)

       105.     Plaintiff Alibhai repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

                                                 69
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 70 of 86



       106.    California’s UCL prohibits any “unlawful, unfair, or fraudulent” business practice.

Cal. Bus. & Prof. Code § 17200. Defendants’ labeling is “unlawful,” “unfair,” and “fraudulent.”

       107.    A business practice is “unfair” under the UCL if the gravity of the harm to the

victim outweighs the utility of the defendant’s conduct.

       108.    Defendants have violated, and continues to violate, the “unfair” prong of the UCL

by luring consumers into buying their Products by using the name “Babyganics,” and “mineral-

based” and “natural” labels discussed herein.

       109.    The gravity of the harm to Plaintiff Alibhai and the other California and Sunscreen

Subclass Members resulting from these unfair acts and practices outweighs any conceivable utility

of Defendants’ conduct.

       110.    As a result of the conduct described above, Defendants have been, and will continue

to be, unjustly enriched at the expense of Plaintiff Alibhai and the other California and Sunscreen

Subclass Members. Specifically, Defendants have been enriched by obtaining revenues and profits

it would not otherwise have obtained absent their false, misleading, and deceptive practices.

       111.    Plaintiff Alibhai seeks to enjoin further unlawful, unfair, and/or fraudulent acts or

practices by Defendants, to obtain restitutionary disgorgement of all monies and revenues

generated as a result of such practices, and all other relief allowed under California Business &

Professions Code § 17200.

                               FIFTH CAUSE OF ACTION
    VIOLATION OF THE “FRAUDULENT” PRONG OF THE CALIFORNIA UCL
   (On Behalf of Plaintiff Alibhai and the California and Sunscreen Subclass Members)

       112.    Plaintiff Alibhai repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       113.    California’s UCL prohibits any “unlawful, unfair, or fraudulent” business practice.

Cal. Bus. & Prof. Code § 17200. Defendants’ labeling is “unlawful,” “unfair,” and “fraudulent.”
                                                 70
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 71 of 86



       114.    A fraudulent business practice is one in which members of the public are likely to

be deceived.

       115.    Defendants have violated, and continues to violate, the “fraudulent” prong of the

UCL by deceiving customers in buying their Products with deceptive labeling.

       116.    As a result of the conduct described above, Defendants have been, and will continue

to be, unjustly enriched at the expense of Plaintiff Alibhai and the other California and Sunscreen

Subclass Members. Specifically, Defendants have been unjustly enriched by obtaining revenues

and profits it would not otherwise have obtained absent their false, misleading, and deceptive

practices.

       117.    Plaintiff Alibhai seeks to enjoin further unlawful, unfair, and fraudulent acts or

practices by Defendants, to obtain restitutionary disgorgement of all monies and revenues

generated as a result of such practices, and all other relief allowed under California Business &

Professions Code § 17200.

                                SIXTH CAUSE OF ACTION
      VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
     (On Behalf of Plaintiff Alibhai and the California and Sunscreen Class Members)

       118.    Plaintiff Alibhai repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       119.    This cause of action is brought under the Consumer Legal Remedies Act, California

Civil Code §§ 1750 et seq.

       120.    Plaintiff Alibhai, as well as each member of the California Class, constitute a

“consumer” within the meaning of Civil Code § 1761(d).

       121.    Defendants’ representations to Plaintiff Alibhai and the other California and

Sunscreen Subclass Members that the Products they were receiving were organic, mineral-based,

or natural violated (1) Civil Code § 1770(a)(5), which prohibits “[r]epresenting that goods or
                                                 71
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 72 of 86



services have sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities which

they do not have or that a person has a sponsorship, approval, status, affiliation, or connection

which he or she does not have” and (2) Civil Code § 1770(a)(7), which prohibits “[r]epresenting

that goods or services are of a particular standard, quality, or grade, or that goods are of a particular

style or model, if they are of another.”

        122.    Under Civil Code § 1780(a)(2), Plaintiff Alibhai, on behalf of herself and the

California and Sunscreen Subclasses, requests that this Court enjoin Defendants from continuing

to engage in these unlawful and deceptive practices.

        123.    CLRA SECTION 1782 NOTICE. On December 21, 2015, a CLRA demand letter

was sent to Defendant KAS Direct that provided notice of Defendants’ violation of the CLRA and

demanded Defendants correct, repair, replace, or otherwise rectify the unlawful, unfair, false,

and/or deceptive practices complained of herein. The letter also stated that, if Defendants refused

to do so, a complaint would be filed seeking damages in accordance with the CLRA. Defendants

failed to comply with the letter. Accordingly, pursuant to California Civil Code Section 1780(a)(3),

Plaintiff, on behalf of herself and all other California and Sunscreen Subclass Members, seeks

compensatory damages, punitive damages, and restitution of any ill-gotten gains due to

Defendants’ acts and practices.

        124.    Pursuant to California Civil Code sections 1780 and 1782, Plaintiff and the

California and Sunscreen Subclass Members seek damages in an amount to be proven at trial, an

injunction to bar Defendants from continuing their deceptive advertising practices, and reasonable

attorneys’ fees and costs.




                                                   72
           Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 73 of 86



                             SEVENTH CAUSE OF ACTION
         VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW
   (On Behalf of Plaintiff Alibhai and the California and Sunscreen Subclass Members)

          125.   Plaintiff Alibhai repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          126.   This cause of action is brought under California’s False Advertising Law,

California Business & Professions Code §§ 17500 et seq. (“FAL”).

          127.   The FAL prohibits the dissemination of any advertising which is untrue or

misleading, and which is known, or which by the exercise of reasonable care should be known, to

be untrue or misleading. Cal. Bus. & Prof. Code § 17500.

          128.   Defendants used, and continue to use, labeling—including the terms “Babyganics,”

“mineral-based,” or “natural”—that is untrue and misleading. This labeling is unfair, deceptive,

and misleading within the meaning of California Business & Professions Code §§ 17500 et seq.

          129.   Defendants knew or should have known that their labeling was and is misleading

or likely to mislead for the reasons set forth above.

          130.   Plaintiff Alibhai suffered injury in fact and a loss of money or property as a result

of Defendants’ acts and practices, which violate California Business & Professions Code §§ 17500

et seq.

                          EIGHTH CAUSE OF ACTION
  VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
                                         ACT
          (On Behalf of Plaintiff Festa and the Florida Subclass Members)

          131.   Plaintiff Festa repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

          132.   This cause of action is brought pursuant to the FDUPTA. The stated purpose of the

Act is to “protect the consuming public ... from those who engage in unfair methods of competition,


                                                  73
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 74 of 86



or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

Fla. Stat. § 501.202(2).

       133.    Plaintiff Festa and the Florida Subclass are consumers as defined by Fla. Stat. §

501.203. The Products are goods within the meaning of the Act. Defendants are engaged in trade

or commerce within the meaning of the Act.

       134.    Fla. Stat. § 501.204(1) declares unlawful “[u]nfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any

trade or commerce.”

       135.    Defendants have violated the Act by engaging in the unfair and deceptive practices

as described herein which offend public policies and are immoral, unethical, unscrupulous and

substantially injurious to consumers.

       136.    Plaintiff Festa and the Florida Subclass have been aggrieved by Defendants’ unfair

and deceptive practices in that they paid more for the Products than they otherwise would have as

a result of Defendants’ misrepresentations.

       137.    The damages suffered by Plaintiff Festa and the Florida Subclass were directly and

proximately caused by the deceptive, misleading and unfair practices of Defendants, as more fully

described herein.

       138.    Pursuant to Fla. Stat. § 501.211(1), Plaintiff Festa and the Florida Subclass seek a

declaratory judgment and court order enjoining the above-described wrongful acts and practices

of Defendants, as well as for restitution and disgorgement.

       139.    Additionally, pursuant to Fla. Stat. §§ 501.211(2) and 501.2105, Plaintiff Festa and

the Florida Subclass make claims for damages, attorneys’ fees and costs.




                                                74
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 75 of 86



                               NINTH CAUSE OF ACTION
                    BREACH OF NEW YORK EXPRESS WARRANTY
     (On Behalf of Plaintiff Mayhew and All Class and/or New York Subclass Members)

         140.   Plaintiff Mayhew repeats and realleges each and every allegation contained in all

the foregoing paragraphs as if fully set forth herein.

         141.   Plaintiff Mayhew, the Class members, and the New York Subclass members

formed a contract with Defendants at the time they purchased the Products. As part of that contract,

Defendants represented that the Products were “organic,” “mineral-based,” “natural,” as described

above. These representations constitute express warranties and became part of the basis of the

bargain between Plaintiff Mayhew, the Class members, and the New York Subclass members, on

the one hand, and Defendants, on the other.

         142.   Defendants made the above-described representations to induce Plaintiff Mayhew,

the Class members, and the New York Subclass members to purchase the Products, and Plaintiff

Mayhew, the Class members, and the New York Subclass members relied on the representations

in purchasing the Products.

         143.   All conditions precedent to Defendants’ liability under the above-referenced

contract have been performed by Plaintiff Mayhew, the Class members, and the New York

Subclass members.

         144.   Defendants breached their express warranties about the Products because, as

alleged above, the Products are not “organic,” “mineral-based,” or “natural.” Consequently,

Defendants breached New York’s warranty laws. N.Y. U.C.C. Law § 2-313.

         145.   As a result of Defendants’ breaches of express warranties, Plaintiff Mayhew, the

Class members, and the New York Subclass members were damaged in the amount of the purchase

price or a premium they paid for the Products, in an aggregate amount that Plaintiff will prove at

trial.
                                                 75
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 76 of 86



                            TENTH CAUSE OF ACTION
                   VIOLATION OF MAGNUSON-MOSS WARRANTY
                 FEDERAL TRADE COMMISSION IMPROVEMENT ACT
                     (On Behalf of Plaintiffs and All Class Members)

       146.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       147.    Plaintiffs bring this claim on behalf of the Class for violation of the Magnuson-

Moss Warranty—Federal Trade Commission Improvement Act, 15 U.S.C. § 2301 et seq. (the

“MMWA”).

       148.    Upon certification, the Class will consist of more than 100 named plaintiffs.

       149.    Pursuant to the MMWA, “a consumer who is damaged by the failure of a supplier,

warrantor, or service contractor to comply with any obligation under [the MMWA], or under a

written warranty, implied warranty, or service contract, may bring suit for damages and other legal

and equitable relief[.]” 15 U.S.C. § 2310(d)(1).

       150.    Under the MMWA, “consumer product” means “any tangible personal property

which is distributed in commerce and which is normally used for personal, family, or household

purposes (including any such property intended to be attached to or installed in any real property

without regard to whether it is so attached or installed).” Id. § 2301(1).

       151.    The Products are “consumer products” under the MMWA. Id.

       152.    Under the MMWA, “consumer” means “a buyer (other than for purposes of resale)

of any consumer product, any person to whom such product is transferred during the duration of

an implied or written warranty (or service contract) applicable to the product, and any other person

who is entitled by the terms of such warranty (or service contract) or under applicable State law to

enforce against the warrantor (or service contractor) the obligations of the warranty (or service

contract).” Id. § 2301(3).

                                                   76
           Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 77 of 86



          153.   Plaintiffs and the Class members are “consumers” under the MMWA. Id.

          154.   Under the MMWA, “supplier” means “any person engaged in the business of

making a consumer product directly or indirectly available to consumers.” 15 U.S.C. § 2301(4).

          155.   Defendants are “supplier[s]” under the MMWA. Id.

          156.   Under the MMWA, “warrantor” means “any supplier or other person who gives or

offers to give a written warranty or who is or may be obligated under an implied warranty.” Id. §

2301(5).

          157.   Defendants are “warrantor[s]” under the MMWA. Id.

          158.   Plaintiffs have purchased more than $25 worth of the Products within the liability

period.

          159.   Packages of the Products can cost more than $5.

          160.   By reason of Defendants’ breaches of their express warranties concerning the

purported “organic,” “mineral-based,” and “natural” qualities of the Products, Defendants have

caused economic damage to Plaintiff and the Class members and has violated the statutory rights

due to them under the MMWA.

                         ELEVENTH CAUSE OF ACTION
             VIOLATION OF STATE CONSUMER PROTECTION STATUTES
                    (On Behalf of Plaintiffs and All Class Members)

          161.   Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

          162.   Plaintiffs bring this claim on behalf of themselves and consumers nationwide.

          163.   Plaintiff and the Nationwide Class Members have been injured as a result of

Defendants’ violations of the following state consumer protection statutes, which also provide a

basis for redress to Plaintiff and the Nationwide Class Members based on Defendants’ fraudulent,

deceptive, unfair, and unconscionable acts, practices, and conduct.
                                                 77
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 78 of 86



       164.    Defendants’ conduct as alleged herein violates the consumer protection, unfair

trade practices and deceptive acts laws of each of the following jurisdictions:

               a.      Alaska: Defendants’ practices were and are in violation of Alaska’s Unfair

                       Trade Practices and Consumer Protection Act, Alaska Stat. § 45.50.471, et

                       seq.;

               b.      Arizona: Defendants’ practices were and are in violation of Arizona’s

                       Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.;

               c.      Arkansas: Defendants’ practices were and are in violation of Arkansas

                       Code Ann. § 4-88-101, et seq.;

               d.      California: Defendants’ practices were and are in violation of California

                       Consumer Legal Remedies Act, Civil Code § 1750, et seq., and California’s

                       Unfair Competition Law, California Business and Professions Code §

                       17200, et seq.;

               e.      Colorado: Defendants’ practices were and are in violation of Colorado’s

                       Consumer Protection Act, Colo. Rev. Stat. §§ 61-1-101, et seq.;

               f.      Connecticut: Defendants’ practices were and are in violation of

                       Connecticut’s Gen. Stat. § 42-110a, et seq.;

               g.      Delaware: Defendants’ practices were and are in violation of Delaware’s

                       Consumer Fraud Act, Del. Code Ann. tit. 6, § 2511, et seq. and the

                       Deceptive Trade Practices Act, Del. Code Ann. tit. 6, § 2531, et seq.;

               h.      District of Columbia: Defendants’ practices were and are in violation of

                       the District of Columbia’s Consumer Protection Act, D.C. Code § 28-3901,

                       et seq.;



                                                78
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 79 of 86



    i.    Florida: Defendants’ practices were and are in violation of the Florida

          Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et seq.;

    j.    Hawaii: Defendants’ practices were and are in violation of the Hawaii’s

          Uniform Deceptive Trade Practices Act, Haw. Rev. Stat. § 481A-1, et seq.

          and Haw. Rev. Stat. § 480-2;

    k.    Idaho: Defendants’ practices were and are in violation of Idaho’s

          Consumer Protection Act, Idaho Code Ann. § 48-601, et seq.

    l.    Illinois: Defendants’ acts and practices were and are in violation of Illinois’

          Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.

          505/2; and Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.

          510/2;

    m.    Indiana: Defendants’ practices were and are in violation of Indiana’s

          Deceptive Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-1, et seq.;

    n.    Kansas: Defendants’ practices were and are in violation of Kansas’s

          Consumer Protection Act, Kat. Stat. Ann. § 50-623, et seq.;

    o.    Kentucky: Defendants’ practices were and are in violation of Kentucky’s

          Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.;

    p.    Maine: Defendants’ practices were and are in violation of the Maine Unfair

          Trade Practices Act, 5 Me. Rev. Stat. Ann. Tit. 5, § 205-A, et seq. and 10

          Me. Rev. Stat. Ann. § 1101, et seq.;

    q.    Maryland: Defendants’ practices were and are in violation of Maryland’s

          Consumer Protection Act, Md. Code Ann. Com. Law § 13-101, et seq.;




                                    79
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 80 of 86



    r.    Massachusetts: Defendants’ practices were unfair and deceptive acts and

          practices in violation of Massachusetts’ Consumer Protection Act, Mass.

          Gen. Laws ch. 93A, § 2;

    s.    Michigan: Defendants’ practices were and are in violation of Michigan’s

          Consumer Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.;

    t.    Minnesota: Defendants’ practices were and are in violation of Minnesota’s

          Prevention of Consumer Fraud Act, Minn. Stat. § 325F.68, et seq. and the

          Unlawful Trade Practices law, Minn. Stat. § 325D.09, et seq.;

    u.    Missouri: Defendants’ practices were and are in violation of Missouri’s

          Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;

    v.    Nebraska: Defendants’ practices were and are in violation of Nebraska’s

          Consumer Protection Act, Neb. Rev. Stat. § 59-1601, et seq. and the

          Uniform Deceptive Trade Practices Act, § 87-302, et seq.;

    w.    Nevada: Defendants’ practices were and are in violation of Nevada’s

          Deceptive Trade Practices Act, Nev. Rev. Stat. Ann. §§ 598.0903 and

          41.600;

    x.    New Hampshire: Defendants’ practices were and are in violation of New

          Hampshire’s Regulation of Business Practices for Consumer Protection,

          N.H. Rev. Stat. Ann. § 358-A:1, et seq.;

    y.    New Jersey: Defendants’ practices were and are in violation of New

          Jersey’s Consumer Fraud Act, N.J. Stat. Ann. § 56:8-1, et seq.;

    z.    New Mexico: Defendants’ practices were and are in violation of New

          Mexico’s Unfair Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.;



                                    80
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 81 of 86



    aa.   New York: Defendants’ practices were in and are in violation of New

          York’s Gen. Bus. Law §§ 349, et seq.;

    bb.   North Carolina: Defendants’ practices were and are in violation of North

          Carolina’s Unfair Deceptive Trade Practices Act, N.C. Gen. Stat. Ann. §

          75-1, et seq.;

    cc.   North Dakota: Defendants’ practices were and are in violation of North

          Dakota’s Unlawful Sales or Advertising Practices law, N.D. Cent. Code §

          51-15-01, et seq.;

    dd.   Ohio: Defendants’ practices were and are in violation of Ohio’s Consumer

          Sales Practices Act, Ohio Rev. Code Ann. § 1345.01, et seq. and Ohio’s

          Deceptive Trade Practices Act. Ohio Rev. Code Ann. § 4165.01, et seq.;

    ee.   Oklahoma: Defendants’ practices were and are in violation of Oklahoma’s

          Consumer Protection Act, Okla. Stat. Ann. tit. 15 § 751, et seq., and

          Oklahoma’s Deceptive Trade Practices Act, Okla. Stat. Ann. tit. 78 § 51, et

          seq.;

    ff.   Oregon: Defendants’ practices were and are in violation of Oregon’s

          Unlawful Trade Practices law, Or. Rev. Stat. § 646.605, et seq.;

    gg.   Pennsylvania: Defendants’ practices were and are in violation of

          Pennsylvania’s Unfair Trade Practice and Consumer Protection Law, 73 Pa.

          Stat. Ann. § 201-1, et seq.;

    hh.   Rhode Island: Defendants’ practices were and are in violation of Rhode

          Island’s Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-1, et seq.;




                                    81
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 82 of 86



               ii.    South Dakota: Defendants’ practices were and are in violation of South

                      Dakota’s Deceptive Trade Practices and Consumer Protection Act, S.D.

                      Codified Laws § 37-24-1, et seq.;

               jj.    Texas: Defendants’ practices were and are in violation of Texas’ Deceptive

                      Trade Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. §

                      17.41, et seq.;

               kk.    Utah: Defendants’ practices were and are in violation of Utah’s Consumer

                      Sales Practices Act, Utah Code Ann. § 13-11-1, et seq., and Utah’s Truth in

                      Advertising Law, Utah Code Ann. § 13-11a-1, et seq.;

               ll.    Vermont: Defendants’ practices were and are in violation of Vermont’s

                      Consumer Fraud Act, Vt. Stat. Ann. tit. 9 § 2451, et seq.;

               mm.    Washington: Defendants’ practices were and are in violation of

                      Washington Consumer Protection Act, Wash. Rev. Code Ann. § 19.86, et

                      seq.;

               nn.    West Virginia: Defendants’ practices were and are in violation of West

                      Virginia’s Consumer Credit and Protection Act, W. Va. Code § 46A-6-101,

                      et seq.;

               oo.    Wisconsin: Defendants’ practices were and are in violation of Wisconsin’s

                      Consumer Act, Wis. Stat. §421.101, et seq.; and

               pp.    Wyoming: Defendants’ practices were and are in violation of Wyoming’s

                      Consumer Protection Act, Wyo. Stat. Ann. §40-12-101, et seq.

       165.    Defendants violated the aforementioned states’ unfair and deceptive acts and

practices laws by representing the Products are organic, natural, and mineral-based.



                                               82
          Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 83 of 86



         166.    Contrary to Defendants’ representations, the Products are not organic, natural, and,

in the case of the Sunscreens, contain chemical active ingredients.

         167.    Defendants’ misrepresentations were material to Plaintiffs’ and Nationwide Class

Members’ decision to pay a significant premium for the Products.

         168.    Defendants made their untrue and misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

         169.    As a result of Defendants’ violations of the aforementioned states’ unfair and

deceptive practices laws, Plaintiffs and Nationwide Class Members paid a significant premium for

the Products as compared to products serving the same purpose.

         170.    Pursuant to the aforementioned states’ unfair and deceptive practices laws,

Plaintiffs and Nationwide Class Members are entitled to recover compensatory damages,

restitution, punitive, and special damages including but not limited to treble damages, reasonable

attorneys’ fees and costs, and other injunctive or declaratory relief as deemed appropriate or

permitted pursuant to the relevant law.

                                TWELFTH CAUSE OF ACTION
                          COMMON LAW UNJUST ENRICHMENT
                (On Behalf of Plaintiffs and All Class Members in the Alternative)

         171.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

         172.     Plaintiffs, on behalf of themselves and consumers nationwide, bring a common

law claim for unjust enrichment.

         173.     Defendants’ conduct violated, inter alia, state and federal law by manufacturing,

advertising, marketing, and selling their Products while misrepresenting and omitting material

facts.



                                                  83
           Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 84 of 86



       174.     Defendants’ unlawful conduct as described in this Amended Complaint allowed

Defendants to knowingly realize substantial revenues from selling their Products at the expense

of, and to the detriment or impoverishment of, Plaintiffs and Class Members, and to Defendants’

benefit and enrichment. Defendants have thereby violated fundamental principles of justice,

equity, and good conscience.

       175.    Plaintiffs and Class Members conferred significant financial benefits and paid

substantial compensation to Defendants for the Products, which was not as Defendants represented

them to be.

       176.    Under New York’s common law principles of unjust enrichment, it is inequitable

for Defendants to retain the benefits conferred by Plaintiffs’ and Class Members’ overpayments.

       177.    Plaintiffs and Class Members seek disgorgement of all profits resulting from such

overpayments and establishment of a constructive trust from which Plaintiffs and Class Members

may seek restitution.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so properly triable thereby.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for judgment as

follows:

       A.      For an order certifying this case as a class action and appointing Plaintiffs and

Plaintiffs’ counsel to represent the Class;

       B.      For an order awarding, as appropriate, damages, restitution, or disgorgement to

Plaintiffs and the Class, including all monetary relief to which Plaintiffs and the Class are entitled

under applicable law;



                                                 84
         Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 85 of 86



       C.      For an order requiring Defendants to immediately cease and desist from all

fraudulent, deceptive, unlawful, and illegal conduct outlined above;

       D.      For all equitable remedies available as a result of the fact that the sale of a

misbranded product is an illegal contract that is void under applicable law;

       E.      For an order awarding attorneys’ fees and costs;

       F.      For an order awarding punitive damages;

       G.      For an order awarding pre-judgment and post-judgment interest; and

       H.      For an order providing such further relief as this Court deems just and proper.



Dated: August 7, 2017
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                                                85
Case 7:16-cv-06981-VB Document 45 Filed 08/07/17 Page 86 of 86



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                              86
